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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

     IN RE DPP BEEF LITIGATION                    Case No. 0:20-cv-1319 (JRT/HB)

                                                 DIRECT PURCHASER PLAINTIFFS’
     This document relates to:                     CORRECTED CONSOLIDATED
     ALL CASES                                      AMENDED CLASS ACTION
                                                          COMPLAINT
                                                    REDACTED PUBLIC VERSION


          Plaintiffs, Olean Wholesale Grocery Cooperative, Inc. (“Olean”) and Howard B.

Samuels solely in his capacity as Chapter 7 trustee for the bankruptcy estates of Central

Grocers, Inc., Strack and Van Til Super Market, Inc., and SVT, LLC (“Central Grocers”),

bring this antitrust class action lawsuit on behalf of themselves and all persons and entities

similarly situated against Defendants Cargill, Inc., Cargill Meat Solutions Corporations

(a/k/a Cargill Protein) (“CMS”), JBS S.A., JBS USA Food Company Holdings (“JBS

USA”), Swift Beef Company (“Swift”), JBS Packerland, Inc. (“Packerland”), National

Beef Packing Company (“National Beef”), Tyson Foods, Inc. (“Tyson Foods”), Tyson

Fresh Meats, Inc. (“Tyson Fresh”) (collectively “Defendants”), and unnamed co-

conspirators. Based upon personal knowledge and investigation by counsel, Plaintiffs

allege as follows:

I.        NATURE OF THIS ACTION
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       1.       This class action is brought on behalf of Plaintiffs and all persons and entities

who purchased beef1 in the United States directly from one or more of the Defendants from

at least January 1, 2015, until present (the “Class Period”). Plaintiffs allege that Defendants

violated Section 1 of the Sherman Act by conspiring to constrain beef supplies in the United

States, thereby artificially inflating domestic beef prices paid by direct purchasers. As a

direct result of Defendants’ unlawful conduct, Plaintiffs and the other class members

suffered antitrust injury for which Plaintiffs seeks treble damages and injunctive relief.

Plaintiffs also demand a jury trial.

       2.       Defendants are the world’s largest meat processing and packing companies,

known in the industry as meatpackers or packers. In 2018, the operating company

Defendants (Tyson Fresh, CMS, Swift/Packerland, and National Beef) (collectively

“Operating Defendants”) — sold approximately 80 percent of the more than 25 million

pounds of fresh and frozen beef supplied to the U.S. market. Collectively, they controlled

approximately 81–85 percent of the domestic cattle processed (or slaughtered) in the

market throughout the Class Period. The next largest meatpacker had only a 2–3 percent

market share.

       3.       Since at least the start of 2015, Defendants have exploited their market power

in this highly concentrated market by conspiring to limit the supply, and fix the prices, of


1
       In this Complaint, “beef” means boxed and case-ready meat that has been
processed from fed cattle by Defendants and other smaller, nondefendant producers. It
excludes ground beef made from culled cows. “Cattle” means fed cattle before they are
processed into beef and excludes culled cows. “Fed” cattle means steers and heifers
raised in feedlots on a concentrated diet for the production and sale of beef.
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beef sold to Plaintiffs and class members in the U.S. wholesale market. The principal, but

not exclusive, means Defendants have used to effectuate their conspiracy is a scheme to

artificially constrain the supply of beef entering the domestic supply chain. Defendants’

collusive restriction of the beef supply has had the intended effect of artificially inflating

beef prices. As a result, Plaintiffs and class members paid higher prices than they would

have paid in a competitive market.

       4.     Recently, the U.S. Department of Justice (“DOJ”) and U.S. Department of

Agriculture (“USDA”) launched investigations into whether Defendants fixed beef prices

in the United States. On June 4, 2020, news sources reported, and Plaintiffs confirmed, that

DOJ’s Antitrust Division sent civil investigative demands to Defendants Tyson Foods, JBS

SA, and Cargill, Inc., and to National Beef Inc. (a company related to Defendant National

Beef) seeking information about their pricing practices dating back to January 2015.

       5.     On March 12, 2020, testimony before the Senate Subcommittee on

Agriculture, Rural Development, Food and Drug Administration, and Related Agencies,

Secretary of Agriculture Sonny Perdue announced that the USDA had begun an

investigation into suspiciously high beef prices. Secretary Perdue expressed serious

concern that meatpackers were paying lower prices for live cattle without passing the cost

savings on to Plaintiffs and other beef purchasers. As he explained, the difference between

prices for live cattle and prices for wholesale beef was “historically high.”

       6.     A confidential witness previously employed by Swift at its Cactus, TX

slaughter plant has confirmed the existence of a conspiracy among the Operating

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Defendants. The witness has confirmed that all the Defendants agreed to reduce their cattle

purchases and slaughter volumes for the purpose and effect of increasing their margins

(i.e., the spread between what Defendants pay cattle ranchers for fed cattle and the price

they charge Plaintiffs and the proposed class for beef). Defendants transactional data and

slaughter volume records, information published by the USDA, and Defendants’ public

calls for industrywide slaughter and capacity reductions corroborate Witness 1’s account.

       7.     In addition to the high concentration in the wholesale beef industry, other

structural characteristics of the domestic beef market facilitate Defendants’ conspiracy.

Operating Defendants sit atop the supply and distribution chain that ultimately delivers

beef to the market. Their vital role is to purchase cattle from the nation’s farmers and

ranchers, slaughter and pack cattle into beef, and sell beef to Plaintiffs and class members.

Operating Defendants’ gatekeeping role has enabled them to collusively control upstream

and downstream beef pricing throughout the Class Period.

       8.     Other market characteristics serve as plus factors and support the inference

of collusion among Defendants during the Class Period. These characteristics include

producer concentration, high barriers to entry, inelastic demand, the commodity nature

of beef, frequent opportunities to conspire, surging demand, market share stability, and

decreased imports. These economic factors encouraged and fomented the formation of

Defendants’ conspiracy and continue to foster its successful operation.

       9.     Capitalizing on the fundamental mechanism of supply and demand operating

in a beef market vulnerable to successful cartel formation and operation, Operating

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Defendants illegally collaborated to restrain and manage production of beef in the United

States.

          10.   These practices created surpluses in the cattle market and shortages in the

wholesale beef market. These artificial conditions, in turn, drove down the prices Operating

Defendants paid for cattle and boosted the prices Operating Defendants commanded for

beef. The result intended and achieved by Operating Defendants has been higher profit

margins (e.g., meat margins) than would have existed in a competitive market.

          11.   This growth of Operating Defendants’ margins was aided by the way supply

and demand operate in the beef industry. The supply of cattle is insensitive to short-term

price changes because of the long lifecycle of livestock, livestock’s perishable nature, and

the lack of any alternative use for livestock. Beef demand is also relatively insensitive to

price fluctuations. As a result, Operating Defendants’ margins are very responsive to

changes in the aggregate volume of slaughtered cattle.

          12.   Another form of interaction conducive to Defendants’ collusion was frequent

meetings between each other’s executives and key employees. Trade association

conferences and other industry events offered convenient opportunities to exchange

information, plans and strategies, and to build relationships. As described throughout this

complaint, Operating Defendants seized these opportunities to advance their collusive

supply restrictions.

          13.   By the beginning of 2015, Defendants had begun exploiting favorable market

conditions to launch their conspiracy. At that time, they undertook a campaign of throttling

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the beef supply, which campaign persists today. Publicly available industry data

demonstrates Operating Defendants’ abrupt transition from competition to collusion. Joint

management of their respective slaughter volumes during the Class Period is immediately

apparent from Figure 1 below, which tracks their quarterly slaughter volumes and shows

them moving in tandem.

                                          Figure 1




       14.    The results of Defendants’ agreement to coordinate slaughter reductions and

volume are illustrated in Figures 2 and 3 below. Figure 2 compares the average annual

beef cattle slaughter by Operating Defendant and the smaller, non-defendant beef

producers in the market before the Class Period (2007–2014) to the same average during

the first five years of the Class Period (2015–2019), the years for which data is available.




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      17.     As an immediate consequence of Operating Defendants’ reduced supply, the

beef market experienced a dramatic change of price behavior. Before 2015, prices of cattle

and beef predictably moved in tandem. That correlation was the natural economic

relationship in a competitive market because beef is simply processed cattle.

      18.     But, at the start of the Class Period, when Operating Defendants began to cut

production, this fundamental economic relationship between cattle and beef prices abruptly

changed. The degree of correlation of cattle and beef prices diverged (to Operating

Defendants’ benefit) without any credible, non-collusive explanation. The relevant supply

and demand factors in the industry no longer explained the prices charged to direct

purchasers.

      19.     Starting in 2015, wholesale beef prices began to show unusual trends. The

per-pound price of cattle had historically stayed within 20 to 40 cents of the per-pound

average wholesale price of beef. But in 2015, the spread between those prices increased

dramatically as Figures 4 and 5 demonstrate.




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       20.    According to USDA Economic Research Service data, the average spread

between the average farm value of cattle and wholesale value of beef was substantially

higher from January 2015 to present than during the preceding five years. From 2010 to

2014, the average farm-to-wholesale spread was about $34. But from 2015 to 2018, the

average spread was about $54—a 59% increase. The spread continued to balloon, by 2020

reaching about $71, a 109% increase from the pre-class period average.

       21.    Operating Defendants’ ability to cut beef production while maintaining

inflated beef prices during the Class Period provides compelling circumstantial evidence

of their conspiracy. In a beef market free from collusion, if a competitor reduces its

purchase of cattle, other competitors quickly pick up the slack to boost their sales and

increase their market shares.

       22.    In that environment, a competitor would not cut its purchases and suffer lost

sales thereby compromising any hope of increasing its profit margin. Only colluding

meatpackers would expect to benefit by reducing their purchases and slaughter of cattle –

because they knew their would-be competitors would not be increasing their purchasing

volumes as one would expect in a competitive market. By concertedly slashing their supply

output, Operating Defendants have been able to expand their profit margins, confident that

none of them would grab volume from another.

       23.    United by their conspiracy, Operating Defendants were confident that none

of them would break ranks and disproportionately expand their beef production to satisfy



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unmet demand. Armed with this assurance, Operating Defendants improved their meat

margins by achieving and sustaining an unprecedented gap between cattle and beef prices.

       24.    Aided by their collective market power in the upstream (cattle) and

downstream (beef) markets, Operating Defendants’ conspiracy allowed them to steadily

enlarge their operating margins throughout the Class Period. By the end of 2020, the two

largest Defendants, Tyson Foods and JBS USA, were reporting record margins in their beef

business. Tyson Foods reported that its beef business’ operating margin was nearly 10.7%

percent—nearly triple its 2014 operating margin. JBS USA reported a higher beef business

margin of 11.5% percent for the first three quarters of 2020.

       25.    Given these swollen margins, it is little wonder that a leading industry

reporter remarked that Defendants “no longer compete against each other,” which has

enabled them to reap “gangbuster profits.”3

       26.    In summary, Defendants colluded during the Class Period to reduce supplies

of beef in tandem thereby raising and fixing beef prices at levels higher than prices that

would have prevailed had the beef market been competitive. As a direct result, Plaintiffs

and class members suffered antitrust injury by paying illegally inflated prices for beef they

purchased from Defendants.




3
      Cassandra Fish, “Whatever Happened to a Fair Fight,” The Beef (Nov. 10,
2015), https://www.thebeefread.com/2015/11/10/whatever-happened-to-a-fair-fight/
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II.    JURISDICTION AND VENUE

       27.    Plaintiffs bring this action on behalf of themselves and all similarly situated

persons and entities under Sections 4(a) and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and

26, to secure damages injunctive relief for Defendants’ violations of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

       28.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337 and

Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       29.    Venue is proper in this District under Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§ 15, 22, and 26 and 28 U.S.C. § 1391(b), (c) and (d) because one or more

Defendants reside in, are found in, transacted business in, or have an agent who transacted

business in this District and because a substantial portion of the affected interstate

commerce was carried out here.

       30.    This Court has personal jurisdiction over each of the Defendants because,

among other reasons, each Defendant (a) transacted business throughout the United States,

including in this District; (b) manufactured, sold, shipped, and delivered or directed the

manufacture, sale, shipment, and delivery of substantial quantities of beef throughout the

United States, including in this District; (c) had substantial contacts with the United States,

including in this District; and (d) engaged in an antitrust conspiracy that was directed at

and had a direct, foreseeable, and intended effect of causing injury to the business or

property of persons residing in, located in, or doing business throughout the United States,

including in this District.

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       31.    Defendants’ and co-conspirators’ activities were within the intended flow of

commerce within the United States and had direct, substantial, and reasonably foreseeable

effects on foreign and interstate commerce.

III.   PARTIES

       A.     Plaintiffs

       32.    Plaintiff Olean Wholesale Grocery Cooperative, Inc. is a New York domestic

cooperative corporation with its principal place of business at 1587 Haskell Road, Olean,

New York, 14760. Olean directly purchased beef processed and sold at artificially inflated

prices by one or more Defendants or their co-conspirators during the Class Period. Olean

suffered antitrust injury as a direct result of the antitrust violations alleged in this

Complaint.

       33.    Plaintiff the Trustee, Howard B. Samuels, acting solely in his capacity as

Chapter 7 trustee for the bankruptcy estates of Central Grocers, brings this action on behalf

of Central Grocers. Central Grocers is a privately owned Illinois corporation with its

principal place of business at 2600 Haven Avenue, Joliet, Illinois 60453. Central Grocers

directly purchased beef processed and sold at prices artificially inflated by one or more of

the Defendants, their co-conspirators during the Class Period. Central Grocers suffered

antitrust injury as a direct result of the antitrust violations alleged in this Complaint.




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       B.     Defendants

              1.     The Cargill Defendants

       34.    Cargill, Inc. is a privately held Delaware corporation with its principal place

of business at 15407 McGinty Road, Wayzata, Minnesota 55391. During the Class Period,

Cargill, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates

sold beef in interstate commerce, directly or through Cargill, Inc.’s wholly owned or

controlled affiliates, to purchasers in the United States. Cargill, Inc. is the parent company.

       35.    Defendant Cargill Meat Solutions Corporation (a/k/a Cargill Protein)

(“CMS”) is a Cargill, Inc. subsidiary. CMS is a Delaware corporation with its principal

place of business at 825 East Douglas Avenue, Wichita, Kansas 67202. CMS is the

principal operating entity within Cargill, Inc.’s U.S. cattle and beef business and is a wholly

owned subsidiary of Cargill, Inc. On information and belief, CMS owns directly, or

indirectly through its subsidiaries, Cargill, Inc.’s U.S. fed cattle slaughter plants, and

contracts for the purchase of cattle slaughtered there.

       36.    Throughout the Class Period, Cargill, Inc. wholly owned, as a direct or

indirect subsidiary, CMS and sold, along with CMS, beef in interstate commerce, directly

or through this wholly owned or controlled affiliate, to purchasers in the United States.

       37.    During the Class Period, Cargill, Inc. and CMS shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from class

members in the United States and this District.

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              2.      The JBS Defendants

       38.    Defendant JBS S.A. is a Brazilian corporation with its principal place of

business at Av. Marginal Direta do Tiete, 500 Bloco 3-30 andar, Vila Jaguara, Sao Paulo

05.118-100, Brazil. During the Class Period, JBS S.A. and/or its predecessors, wholly

owned or controlled subsidiaries, or affiliates sold beef in interstate commerce, directly or

through JBS S.A.’s wholly owned or controlled affiliates, to purchasers in the United

States. JBS S.A. is the parent company.

       39.    JBS USA Food Company Holdings (“JBS USA”) is a Delaware corporation

with its principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634.

JBS USA is the principal operating entity of JBS S.A.’s U.S. cattle-and-beef business. On

information and belief, it is the principal operating entity within JBS S.A.’s U.S. cattle and

beef business and the contracting entity for certain of JBS S.A.’s purchases of fed cattle in

the United States.

       40.    Defendant Swift Beef Company (“Swift”) is a Delaware corporation with its

principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634. Swift

owns directly, or indirectly through its subsidiaries, certain of JBS S.A.’s U.S. fed cattle

slaughter plants including the Cactus, Texas; Greeley, Colorado; Grand Island, Nebraska;

and Hyrum, Utah plants. On information and belief, Swift contracts for the majority of fed

cattle to be slaughtered at these plants.

       41.    Defendant JBS Packerland, Inc. (“Packerland”) is a Delaware corporation

with its principal place of business at 1770 Promontory Circle, Greeley, Colorado 80634.

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On information and belief, Packerland owns directly, or indirectly through its subsidiaries,

certain of JBS S.A.’s U.S. fed and dairy cattle slaughter plants, including the Packerland

packing plants in Green Bay, Wisconsin and Plainwell, Michigan, the Sun Land beef plant

in Tolleson, Arizona, and the Moyer Packing plant in Souderton, Pennsylvania. On

information and belief, Packerland contracts for the majority of fed cattle to be slaughtered

at these plants.

       42.    Various senior staff and executives responsible for the operation of JBS’s US

fed cattle and beef business during the Class Period were employed by each of JBS USA,

Swift, and Packerland.4

       43.    Throughout the Class Period, JBS S.A. wholly owned as direct or indirect

subsidiaries, JBS USA, Swift, and Packerland and sold, along with JBS USA, Swift, and

Packerland, beef in interstate commerce, directly or through these wholly owned or

controlled affiliates, to purchasers in the United States.

       44.    During the Class Period, the JBS Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from class

members in the United States and in this District.




4
      See JBS USA’s, Swift’s, and Packerland’s September 25, 2020 Updated
Disclosures Pursuant to Attachment 1 of ECF No. 187 in Peterson, et al. v. JBS USA
Food Company Holdings, et al., Case No. 19-cv-1129, at 3-7, 12-13.
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              3.     The Tyson Defendants

       45.    Tyson Foods, Inc. (“Tyson Foods”) is a publicly traded Delaware corporation

headquartered in Springdale, Arkansas. During the Class Period, Tyson Foods and/or its

predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in interstate

commerce, directly or through its wholly owned or controlled affiliates, to purchasers in

the United States.

       46.    Defendant Tyson Fresh Meats, Inc. (“Tyson Fresh”) is a wholly owned

subsidiary of Tyson Foods. Tyson Fresh is a Delaware corporation with its principal place

of business at 800 Stevens Port Drive, Dakota Dunes, South Dakota 57049. Tyson Fresh is

the principal operating entity within Tyson Foods’ U.S. cattle and beef business.

       47.    On information and belief, Tyson Fresh owns directly, or indirectly through

its subsidiaries, Tyson Foods’ U.S. fed cattle slaughter plants and contracts for the purchase

of cattle slaughtered there.

       48.    Throughout the Class Period, Tyson Foods wholly owned as a direct or

indirect subsidiary, Tyson Fresh and sold, along with Tyson Fresh, beef in interstate

commerce, directly or through this wholly owned or controlled affiliate, to purchasers in

the United States.

       49.    On June 10, 2020, Tyson Foods announced it was fully cooperating with

DOJ’s price-fixing investigation into the broiler chicken industry under the antitrust

division’s Corporate Leniency Program.



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       50.    During the Class Period, the Tyson Defendants shared a unity of corporate

interest and operated as part of a single enterprise in furtherance of the conspiracy that

purposefully directed conduct causing injury to and derived direct benefit from class

members in the United States and in this District.

              4.     National Beef Packing Company

       51.    National Beef Packing Company (“National Beef”) is a privately owned

Delaware limited liability company with its principal place of business located at 12200

North Ambassador Drive, Suite 500, Kansas City, Missouri 64163. National Beef and/or

its predecessors, wholly owned or controlled subsidiaries, or affiliates sold beef in

interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

       52.    On information and belief, National Beef owns directly, or indirectly through

its subsidiaries, National Beef’s U.S. fed cattle slaughter plants and contracts for the

purchase of cattle slaughtered there.

       53.    “Defendants” includes all Defendants’ predecessors, including beef

meatpackers merged with or acquired by any Defendant and each Defendant’s wholly

owned or controlled subsidiaries or affiliates that sold beef in interstate commerce directly

to purchasers in the United States during the Class Period.

       54.    Each of the Defendants sold or distributed beef to direct purchasers or played

a material role in the coordinated and collusive behavior alleged. All Defendants were

active, knowing participants in the conspiracy alleged, and their conduct, to the extent

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committed by the Operating Defendants was known to and approved by their parent

Defendants.

       C.     Defendants’ co-conspirators

       55.    Unknown persons, firms, and corporations not named as Defendants

participated as co-conspirators with Defendants and performed acts and made statements

in furtherance of Defendants’ conspiracy. Defendants are jointly and severally liable for

the acts of their co-conspirators, whether Plaintiffs have named these co-conspirators as

Defendants.

       D.     Reciprocal agency of Defendants and co-conspirators

       56.    Each Defendant and co-conspirator acted by or through its officers, directors,

agents, employees, or representatives while actively engaged in the management, direction,

control, or transaction of the corporation’s business or affairs.

       57.    Each Defendant and co-conspirator acted as the agent or joint-venturer of the

other Defendants and co-conspirators with respect to the acts, violations, and common

course of conduct Plaintiffs allege.

       E.     Defendant parent and subsidiary companies share a unity of
              interest

       58.    The coordinated activity of a parent and its wholly owned subsidiary is

viewed as that of a single enterprise for purposes of Section 1 of the Sherman Act.

       59.    A parent and its wholly owned subsidiary have a complete unity of interest.

Their objectives are common, not disparate, and their general corporate actions are guided


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or determined not by two, separate corporate consciousnesses but by one. Accordingly, the

coordinated activity of a parent and its wholly owned subsidiary is viewed as that of a

single enterprise.

       60.      A parent and its wholly owned subsidiary always have a unity of purpose and

thus act as a single enterprise whenever they engage in coordinated activity.

       61.      By controlling, dictating, or encouraging their subsidiaries’ anticompetitive

conduct in advancement of a common scheme for an illegal and anticompetitive purpose,

the parent Defendants independently participated in the illegal enterprise that they entered

with their subsidiaries. In doing so, the parent Defendants engaged in sufficient

independent conduct and had sufficient knowledge, intent, and involvement in Operating

Defendants’ conspiracy to be liable under the Sherman Act as a single enterprise with their

subsidiaries.

       62.      During the Class Period, the parent Defendants shared a unity of corporate

interest and operated as part of a single enterprise with their subsidiaries, the Operating

Defendants, to advance their conspiracy.

                1.    The Cargill Defendants

       63.      Rather than owning and operating subsidiaries to diversify risk and earn

profits by investing in them, Cargill, Inc. formed subsidiaries to conduct business that it

otherwise would have conducted itself. To this end, Cargill, Inc. created CMS to conduct

its business in the meat industry that Cargill, Inc. previously operated itself.



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       64.     Cargill, Inc. presents itself and its subsidiaries to the public as a single unified

enterprise. For example, on its website, Cargill, Inc. reports that it employs 155,000

workers in 70 countries. Plaintiff is informed and therefore believes and alleges that these

numbers include CMS employees. Cargill, Inc. has also publicly announced consolidated

revenues, earnings, and cash flow that Plaintiff believes include performance results from

CMS’s beef operations.

       65.     In the Letter to Stakeholders included in Cargill, Inc.’s 2019 Annual Report,

Cargill, Inc. reported that it “delivered $2.82 billion in adjusted operating earnings in fiscal

2019 . . . . Revenues dipped 1% to $113.5 billion. Cash flow from operations totaled $5.19

billion.” On information and belief, those statistics include earnings, revenues, and cash

flows from all Cargill, Inc. subsidiaries as well as Cargill, Inc. itself. In the same document,

Cargill, Inc. reported that its “[e]arnings were led by our North American protein

businesses. With steady domestic and export demand, and plentiful cattle supplies, the

beef business posted its third consecutive year of strong performance.”

       66.     There is one unified system that processes both companies’ purchase orders,

which also demonstrates the relationship between Cargill, Inc. and CMS.

       67.     Further, Cargill, Inc. operates other business services, including information

technology, human resources, finance, transportation and logistics, and procurement, with

and for CMS.




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       68.    Cargill, Inc. plays an active role in managing CMS’s business operations. As

one example, Cargill, Inc.’s website reported that its chairman and CEO, David

MacLennan, “supervised several businesses in Cargill Protein,” which subsumes CMS.

       69.    As another example, Cargill, Inc. describes the responsibilities of executive

team member, Brian Sikes, as including “leading Cargill’s global protein and salt

businesses,” overseeing “Cargill’s protein business in North America and Europe,” and

leading “the transformation of the North American protein business.” Mr. Sikes lives in

Wichita, Kansas, the principal place of business of CMS.

       70.    Finally, Cargill, Inc.’s slaughter plants in Fresno, California, Wyalusing,

Pennsylvania, and Friona, Texas all list either “Cargill” or “Cargill Beef” as DBAs with

the USDA Food Safety Inspection Service.

       71.    Cargill, Inc.’s extensive involvement in CMS’s management and operations

demonstrates these entities’ unity of purpose (e.g., to profit from their price fixing) and

common objectives. Cargill, Inc.’s extensive involvement in CMS’s management and

operations demonstrates that Cargill, Inc. does far more than provide long-term strategy or

guidance to CMS. Cargill, Inc. created CMS as its instrumentality to execute Cargill, Inc.’s

directives. Throughout the Class Period, Cargill, Inc. exerted, and had the right to exert,

control over CMS. In this manner, Cargill, Inc. independently participated in the illegal

enterprise with CMS and, as a result, has sufficient knowledge, intent, and involvement in

Defendants’ conspiracy to be found liable under the Sherman Act with CMS as a single

enterprise.

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             2.     The JBS Defendants

      72.    JBS S.A. is not merely a holding company whose business is restricted to

investments in operating subsidiaries. JBS S.A. established subsidiaries, including JBS

USA, Swift, and Packerland, to conduct its business, including the purchase and processing

of cattle and the sale of beef. Had JBS S.A. not created or acquired these subsidiaries, it

would have performed these functions itself.

      73.    JBS S.A. presents itself as a unified enterprise and conducts consolidated

earnings calls on which its corporate representatives discuss the operations and profits of

JBS S.A., including JBS USA, Swift, and Packerland. On these calls, JBS S.A. executives

have described the beef business it conducts through JBS USA, which it refers to as “JBS

beef,” as a “division” or “business unit.” JBS S.A. commonly refers to JBS USA as its

“JBS USA beef business[.]” As reported on JBS USA’s financial statements, JBS USA

“conducts its United States beef and pork processing businesses through its wholly-owned

subsidiaries Swift Beef Company (‘Swift Beef’), Swift Pork Company (‘Swift Pork’) and

JBS Packerland, Inc.”

      74.    JBS S.A. appointed JBS USA’s CEO Andre Nogueira. He “report[s]

directly” to JBS Global Operations’ CEO. In Mr. Nogueira’s online “Welcome” message,

he explains that JBS USA operates “[i]n partnership with JBS S.A.”

      75.    Operating Defendants Swift and Packerland are fully integrated into the JBS

USA enterprise. They rest under the complete control of JBS USA, and in turn, JBS S.A.

JBS USA directs and oversees all JBS’s U.S. cattle procurement, beef processing, and sales

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operations, with ultimate direction from JBS S.A. JBS USA’s financial statements are

replete with references to notes, loans, and credit facilities that “are guaranteed by our

Parent, JBS S.A.”

      76.    The career progression of Wesley Batista Filho clearly demonstrates the level

of control JBS S.A. maintains over its subsidiaries, as JBS S.A. installed Wesley Batista

Filho into whatever subsidiary they wished, at whatever level they wished, whenever they

wished. Wesley Batista Filho is the son of former JBS S.A. CEO Wesley Batista, and the

grandson of founder Jose Batista Sabrinho. His grooming to become the next Batista to

lead JBS S.A. began with a position as a trainee in the JBS USA beef plant in Greeley,

Colorado. He then returned to Brazil, where he worked for JBS S.A. in a variety of roles.

Soon after, he became Head of JBS Uruguay, and then Head of JBS Paraguay. He was

next installed as Head of JBS Canada. After that, he was made Head of Fed Beef for JBS

USA and President of JBS USA and Swift Beef. Now, he is president of all JBS operations

in South America.

      77.    Swift and JBS Packerland’s packing operations are presented as those of JBS

USA. For example, they appear on USDA’s list of Bonded Packers as “JBS USA Food

Company, Swift Beef Company” and “JBS USA Food Company, JBS Packerland, Inc.,”

respectively. The USDA’s Food Safety and Inspection Service’s Inspection Directory lists

“JBS,” “JBS USA,” and “JBS USA Food Company” amongst other DBAs for Swift.

      78.    JBS S.A.’s extensive involvement in JBS USA’s, Swift’s, and Packerland’s

management and operations demonstrates these entities’ unity of purpose (e.g., to profit

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from their price fixing) and common objectives. JBS S.A.’s extensive involvement in JBS

USA’s, Swift’s, and Packerland’s management and operations also reveals that these

entities’ general corporate actions are guided and determined by one corporate

consciousness. JBS S.A. does more than provide long-term strategy and guidance to JBS

USA, Swift, and Packerland. The entire purpose of these subsidiaries is to serve as

instrumentalities by executing JBS S.A.’s directives within the greater JBS enterprise.

Throughout the Class Period, JBS S.A. exerted, and had the right to exert, total control

over JBS USA, Swift, and Packerland. In this manner, JBS S.A. independently participated

in the illegal enterprise with JBS USA’s, Swift’s, and Packerland’s and, as a result, has

sufficient knowledge, intent, and involvement in Defendants’ conspiracy to be found liable

under the Sherman Act with JBS USA’s, Swift’s, and Packerland’s as a single enterprise.

              3.     The Tyson Defendants

       79.    Tyson Foods is not a mere holding company whose business is restricted to

investments in operating subsidiaries. Rather, Tyson Foods formed subsidiaries to act as

its agents and representatives to conduct business activities that Tyson Foods would have

otherwise conducted. With respect to Tyson Foods’ subsidiary Tyson Fresh, those

activities include purchasing and processing cattle and selling beef.

       80.    Tyson Foods holds itself out to the public as a single unified enterprise,

describing the beef business it conducts through Tyson Fresh as a mere “business unit.”

Indeed, before Noel White became Tyson Foods’ CEO (now former CEO), he was “group

president of Tyson’s Fresh Meats business unit.”

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       81.    On its quarterly earnings calls, Tyson Foods’ corporate representatives

include Tyson Fresh when discussing the company’s financial performance. On these calls,

Tyson Foods announces operating income and returns on sales from its beef segment

business that Tyson Fresh operates. More specifically, on these calls Tyson Foods

attributes improved returns to actions taken at plants that Tyson Fresh owns and operates.

       82.    During a January 31, 2014, earnings call, Tyson Foods management

employees explained to investors that Tyson Foods had generated $58 million in operating

income and a 1.6% return on sales from its beef segment business, despite that business

being operated directly by Tyson Fresh Meats. On the same call, Tyson Foods’ managers

stated that “as the calf crop declines . . . we’ll probably have to curtail production.”

Production of the beef from the calf crop is an activity which is undertaken by Tyson Fresh.

       83.    On other earning calls, Tyson Foods has described actions taken by Tyson

Fresh to advance Defendants’ conspiracy. For example, on its August 3, 2015, earnings

call, Tyson Foods explained its strategy for cattle purchasing implemented by Tyson Fresh

as “we run for margin and not for market share, we’re not willing to overpay for cattle and

we’ve had to cut back on our hours at our plants resulting in inefficiencies and added costs.”

       84.    Similarly, on Tyson Foods’ May 7, 2018, earnings call, with respect to beef

production plants owned and operated by Tyson Fresh, Tyson Foods explained that “we

have to stop production, we have closed plants, several times in the quarter, not every plant,

but several plants in the quarter.”



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        85.   Tyson Foods and Tyson Fresh also guarantee each other’s debts. Tyson Fresh

has issued multiple debt securities guaranteed by Tyson Foods. In a registration statement

filed with the SEC in 2009, Tyson Foods notified investors that Tyson Fresh pledged not

only its own assets to guarantee debt instruments but also those of Tyson Foods and certain

“other domestic operation subsidiaries of Tyson [Foods].”

        86.   Similarly, in a 2014 prospectus filed with the SEC, Tyson Foods stated that

Tyson Fresh would act as a guarantor to Tyson Foods’ debt securities, including

debentures, notes, and all other types of debt. Tyson Foods has issued multiple senior notes

under this arrangement, many of which do not mature until 2034 and some of which do not

mature until 2044. Some of these debt instruments have been called before their maturity

date.

        87.   Finally, in registrations with the USDA’s Food Safety Inspection Service,

Tyson Fresh slaughter plants in Dakota City, Nebraska, Lexington, Nebraska, Amarillo,

Texas, and identify Tyson Foods as a business name of Tyson Fresh.

        88.   Tyson Foods’ extensive involvement in Tyson Fresh’s management and

operations demonstrates these entities’ unity of purpose (e.g., to profit from their price

fixing) and common objectives. Tyson Foods’ extensive involvement in Tyson Fresh’s

management and operations also reveals that these entities’ general corporate actions are

guided and determined by one corporate consciousness. Tyson Foods does not merely

provide long-term strategy and guidance to Tyson Fresh. Tyson Fresh’s entire purpose is

to execute Tyson Foods’ directives within the greater Tyson enterprise and to serve as an

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instrumentality of Tyson Foods. Throughout the Class Period, Tyson Foods exerted, and

had the right to exert, control over Tyson Fresh. In this manner, Tyson Foods independently

participated in the illegal enterprise with Tyson Fresh and, as a result, has sufficient

knowledge, intent, and involvement in Defendants’ conspiracy to be found liable under the

Sherman Act with Tyson Fresh as a single enterprise.

IV.    INDUSTRY BACKGROUND

       89.    The market for fed cattle in the United States is enormous. For example, in

2017 alone, 25.8 million fed cattle were slaughtered and processed into beef products. This

amount accounted for 80% of the 32.2 million commercial cattle slaughtered across the

United States.5

       90.    The cattle production cycle, running from birth to slaughter, typically ranges

between 15 to 24 months, and is the longest of all animals typically raised for meat.

       91.    Fed cattle progress through three interrelated sectors prior to slaughter:

cow/calf; stocking and background; and feedlots, as detailed in Figure 6 below.




5
       The remaining volume is comprised of slaughter cows (female cattle that have
birthed a calf) and bulls, whose meat is typically used for lesser quality beef products
such as hamburger patties.
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                                          Figure 6.




       92.    Production of cattle raised for beef takes considerable time and investment.

The life cycle of cattle raised for beef is longer than that of any other animal commonly

raised for meat. As Figure 6 illustrates, the beef value chain comprises several stages. First,

calves are raised by their mothers for six to ten months. When they weigh about 500

pounds, the calves are weaned and sold to the stocker-yearling sector where they eat a diet

of forage, wheat pasture, and sileage. When a steer or heifer reaches 600–800 pounds, it is

sold to a feedlot where it eats corn and protein supplements in addition to roughage.
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       93.     Once cattle reach 950–1,300 pounds, they are sold as fed cattle to the beef-

packing stage. Defendants and other beef producers then slaughter and process the cattle

into edible boxed beef and smaller case-ready consumer cuts. A steer weighing 1,000

pounds typically yields about 450 pounds of edible beef.

       94.     Cattle are sold to beef processors through two channels. About 70 percent of

cattle are sold through supply contracts (known as captive-cattle agreements) with feedlots

or, to a lesser extent, ranching operations. The rest of the cattle are sold on the spot market,

which is typically the benchmark for prices under the captive-cattle agreements. Because

Defendants and other beef producers ordinarily have a steady supply of cattle through

captive-cattle agreements, they are not forced to buy in the spot market. This affords

Defendants the power to suppress the price of captive cattle and cattle purchased in the

spot market.

       95.     Finally, Defendants and other meatpackers sell the beef in the wholesale

market to businesses like Plaintiffs who distribute the beef to retailers or directly to grocery

chains, restaurants, and other large retailers.

       96.     Tyson Fresh, JBS USA/Swift/Packerland, CMS, and National Beef each

conduct daily meetings, typically from their head office, attended by representatives of

their respective cattle procurement, plant operations, scheduling, beef sales, and risk

management teams, among others, to make decisions regarding their respective cattle and

beef operations. Among other matters, the attendees of these meetings will discuss the

number of cattle their fed cattle business will procure, the terms on which they will be

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bought, plant scheduling (including slaughter rates) across each of their slaughter facilities,

and beef sales strategy.

       97.    As the cost of fed cattle constitutes the majority of their costs of production,

Operating Defendants’ profitability is driven by the “meat margin,” which is the spread

between the price packers pay for fed cattle and the price they charge for beef. The meat

margin is very sensitive to changes in industry aggregate slaughter levels, and Tyson Fresh,

Swift/Packerland, CMS, and National Beef can, through cooperation, increase it. As noted

by the U.S. Department of Justice (“DOJ”), “all else being equal, when the meat packing

industry reduces production levels, feedlots and cattle producers are paid less for fed cattle

because fewer fed cattle are demanded and customers pay more for [beef] because less is

available for purchase. Because the supply of fed cattle and demand for [beef] are

relatively insensitive to short-term changes in price, even small changes in industry

production levels can significantly affect packer profits.”6 As a result of these sensitivities,

Tyson Fresh, Swift, Packerland, CMS, and National Beef on behalf of their parent

companies, Tyson Foods, JBS S.A., JBS USA, and Cargill Inc., can improve their

profitability by coordinating their respective slaughter levels at or below the prevailing

supply of slaughter-weight fed cattle.




6
        U.S. v. JBS, Case No. 08-cv-5992 (N.D. Ill.), ECF No. 48 (“Amended
Complaint”), ¶¶ 26-27. See also Section VII(B) below regarding the elasticities of fed
cattle and beef.
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V.     OPERATING DEFENDANTS’ ANTITRUST VIOLATIONS

       98.    By the beginning of 2015, Operating Defendants were forced to confront

shrinking profit margins for their beef sales. The earnings calls of the two largest

Defendants, Tyson Foods and JBS S.A., reported the slumping profitability of their beef

operations.

       99.    On a November 7, 2014, earnings call, Tyson Foods reported a quarterly

operating margin that was less than half the margin enjoyed by its poultry division.

       100. On a November 13, 2014, earnings call, JBS S.A. announced a badly

underperforming beef segment at JBS USA. Its quarterly margin reached only about a third

of its pork segment’s margin.

       101. But rather than act independently in their individual business interests to

restore profitability, Operating Defendants agreed to collectively reduce and manage their

respective slaughter volumes that are made available to the downstream market, including

to direct purchasers.

       102. The consequent beef shortage ushered in a new era of supracompetitive

prices paid by Plaintiffs and other direct purchasers in the wholesale beef market.

       A.     Direct evidence of Defendants’ conspiracy

       103. As confirmed by Jason F. (“Witness 1”), based on conversations with James

Hooker, head of fabrication at Swift’s Cactus plant, each of the Operating Defendants

expressly agreed to periodically reduce their respective purchase and slaughter volumes,

resulting in wholesale prices above competitive levels.

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       104. Witness 1 is a former employee of Swift. He worked for Swift as quality

assurance officer (“QA”) at Swift’s Cactus, Texas slaughter plant, located in the Texas

Panhandle. He worked there for over ten years until his employment ceased in early 2018.

       105. During the period of his employment coinciding with the Class Period,

Witness 1 was a head QA and had primary responsibility for the plant’s kill floor, hotboxes,

and coolers. The kill floor is where cattle are slaughtered and dressed, i.e., head, hide, and

internal organs removed. The carcasses are then moved to the hotboxes to cool down,

before being stored in the coolers ahead of fabrication, where they are broken down into

smaller cuts.

       106. Witness 1 learned of Operating Defendants’ collusive purchase and slaughter

reduction agreement from Mr. Hooker. Mr. Hooker was the head of fabrication at Swift’s

Cactus plant and, as explained below, was thus in a position to know about the unlawful

agreement.

       107. Witness 1 regularly stopped by Mr. Hooker’s office before starting his shift

to learn the slaughter and fabrication numbers for that day and the upcoming days. These

numbers affected how Witness 1 and his team would execute their responsibilities,

including the placement of his team, arrangement of hotbox and cooler space, the number

of carcasses they would need to process through the hotbox and coolers that day, and his

interactions with USDA inspectors.

       108. In addition to the fabrication plan, Mr. Hooker, like Witness 1, also needed

to understand the number of cattle scheduled to be slaughtered each day. Amongst other

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matters, if the kill volume was lower but the price of beef remained favorable, the

fabrication floor would continue to process carcasses at typical rates. However, when kill

volumes were reduced and the price of beef was unfavorable, Mr. Hooker may order the

carcasses to spend longer in the hot boxes and coolers before being fabricated into beef

cuts so as to improve grading performance. In this circumstance, Witness 1 and his team

would allow more space between each carcass in the hotboxes. If the kill volume was

higher, Mr. Hooker may need to increase the number of carcasses fabricated to ensure there

was sufficient space in the hotboxes and coolers, and Witness 1 would need to space the

carcasses closer together when filling the hotboxes. Further, the number of carcasses

expected to be put into the hotboxes would dictate the amount of air and water Witness 1

and his team used to ensure proper cooling speeds. In sum, it was essential to both

Mr. Hooker and Witness 1 that they know the plant’s planned slaughter figures in order to

perform their core job duties.

       109. Witness 1 reports having had a “decent” working relationship with

Mr. Hooker.

              1.     Mr. Hooker Was Well Positioned to Know About Operating
                     Defendants’ Agreement

       110. Plaintiffs understand that Mr. Hooker continues to work at Swift’s Cactus

plant, where he has worked for over 15 years in that role, including a short stint as head of

slaughter operations. Witness 1 reports that before working for Swift in the early 2000s,




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Mr. Hooker worked at Tyson Fresh’s Amarillo, Texas slaughter plant, where he was also

responsible for fabrication.

       111. As a fabrication manager for Swift, Mr. Hooker reported directly both to

Cactus’s General Manager, Manny Guerrero,7 and directly to the beef production

department of JBS USA/Swift/Packerland’s head office in Greeley, Colorado.

       112. As head of fabrication, Mr. Hooker needed to be informed as to cattle

buying/scheduling,     cattle   slaughter,   and   beef   selling   aspects   of     JBS

USA/Swift/Packerland’s fed cattle business. He thus interacted with personnel across JBS

USA/Swift/Packerland. In particular, in addition to his direct reports, Mr. Hooker would

also speak directly to other managers within the JBS corporate office about plant

operations, including scheduled slaughter and fabrication volumes, and fabrication

priorities.

       113. For example, Mr. Hooker would speak directly to Mr. Sergio Sampaio

Nogueira, Head of Operations and Executive Vice President of Plant Operations for JBS’s

Fed Beef Business during the Class Period, when Mr. Nogueira visited the Cactus plant,

which occurred regularly. Witness 1 understands that Mr. Hooker would also speak to

Mr. Sergio Nogueira at other times. Mr. Hooker’s contact with senior management reflects

that JBS USA/Swift/Packerland senior executives maintained direct connections with

plant-level managers, like Mr. Hooker, during the Class Period. Mr. Sergio Nogueira was


7
       Mr. Guerrero worked for CMS for approximately 17 years prior to his move to
JBS’s Cactus Plant. He was Plant Manager for CMS’s Fresno, CA plant prior to his
departure in early 2012.
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installed by Wesley Batista, JBS S.A.’s CEO,8 and was regarded as Mr. Batista’s “right

hand man” in regards to JBS’s U.S. beef operations. Mr. Sergio Nogueria had primary

responsibility for Swift’s fed cattle plant scheduling and/or operations during the Class

Period.

      114. In addition, Mr. Hooker was responsible for the Cactus plant in the absence

of Mr. Guerrero and the Plant Engineer, along with Ryan Wagnon, Head of Slaughter

Operations at Cactus. When acting as the Cactus plant’s General Manager, Mr. Hooker

would liaise closely with fed beef executives from across JBS’s head office.

      115. Therefore, Mr. Hooker spoke regularly to individuals very highly placed at

JBS. Indeed, the following recent photo shows the close working relationship he had with

such management:9




8
       Wesley Batista is one of the sons of JBS S.A. founder Jose Batista Sobrinho.
Wesley Batista and his brother Joesley Batista took control of JBS S.A. in the early
2000s, prior to JBS’ acquisition of Swift and Pilgrim’s Pride. Wesley was CEO of JBS
S.A., and directed JBS’ takeover of Swift. He remained in that role, and as a director and
senior executive of JBS USA, Swift and Packerland, until he was implicated in a 2017
bribery and corruption scandal in Brazil, for which he was ousted as CEO and spent time
in prison.
9
       From right to left: James Hooker - Cactus Fabrication Operations Manager; Donna
Estrada - Cactus Technical Services Manager; Al Almanza - JBS Global Food Safety
Director; Sergio Sampaio - JBS Corporate Director of Operations; Paul Kieker - FSIS
Undersecretary USDA Operations; Dr Hafeez - Texas USDA FLS; Dr Mindy Brashears -
FSIS Undersecretary USDA FS; Brian McFarlane - JBS Corporate Director of Technical
Services; Mark DeRaad - Cactus Value Added Manager; Ryan Wagnon - JBS Slaughter
Operations Manager.
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       116. Mr. Hooker, Mr. Sergio Nogueria, and Mr. Wagnon, are respectively

pictured on the far left, fourth from the left, and far right.

       117. In addition to having corporate information for JBS, Mr. Hooker had

information regarding the other Operating Defendants. Mr. Hooker regularly told

Witness 1 that he was in contact with his former colleagues at Tyson Fresh’s Amarillo

plant, including his replacement there. Mr. Hooker also told Witness 1 that he had friends

and former colleagues with whom he stayed in touch at other Operating Defendants’ plants.

Mr. Hooker would often provide Witness 1 with detailed information as to the current and

future operations of Tyson Fresh, CMS, and National Beef’s nearby packing plants.




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                 2.   Witness 1 Learns of an Agreement Among Defendants

       118. Witness 1 reports having multiple discussions with Mr. Hooker during which

Mr. Hooker explained that all of the Operating Defendants reduced their purchase and

slaughter volume in order to reduce fed cattle prices when Operating Defendants viewed

fed cattle prices as being or becoming “too high” for their liking. During one such

conversation, Mr. Hooker specifically admitted that the Defendants had an “agreement” to

reduce their purchase and slaughter volumes in response to what they perceived to be high

cattle prices.

       119. That conversation occurred in 2015. Witness 1 reports that he was in

Mr. Hooker’s office when Mr. Hooker received an angry phone call from his immediate

supervisor, who worked out of JBS USA/Swift/Packerland’s central office in Greeley,

Colorado.

       120. After the call concluded, Witness 1 reports that he asked Mr. Hooker how

“many are we [Swift, Cactus] cutting [i.e., fabricating]?” Witness 1 reports that Mr. Hooker

replied the “cut” was going to be steady that day, but that the “kills are getting cut back,

[because the] price is getting too high” (or words to that effect).10

       121. Witness 1 recalls asking Mr. Hooker whether Swift Cactus’s competitor

plants were also cutting back their kill. Witness 1 reports he recalls that Mr. Hooker



10
       Witness 1 reports that there was typically a lag between the commencement of a
slaughter reduction and the reduction of fabrication activities. Among other reasons, this
reflected the fact that Slaughter Plant 1’s fabrication team had to continue to process the
carcasses that were already hanging in the coolers.
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answered Witness 1’s question as follows: “Yes, they are. We have had that agreement that

we don’t kill while prices are up for a while” (or words to that effect).

       122. Witness 1 is certain that Mr. Hooker intended to convey that all Operating

Defendants were reducing their slaughter volumes by agreement in response to high prices,

and was not simply commenting on the fact that one or some of the Operating Defendants

had independently decided to do so.

       123. Witness 1 stated that Swift’s Cactus plant had a 5,500–6,000 head per day

slaughtering capacity and might drop its kill level back to around 4,800–5,200 head per

day when implementing Defendants’ agreement. When Swift implemented the

Defendants’ agreement by buying and slaughtering fewer cattle, consequences included

running its slaughter plants at reduced hours, operating those plants at lower “chain

speeds,” and/or scheduling maintenance shutdowns. Witness 1 recalls management at

Swift’s Cactus plant, including Mr. Guerrero and Mr. Wagnon, telling staff during these

periods of reduced slaughter during the Class Period that kill levels were being reduced in

response to fed cattle prices.

       124. Witness 1 reports that Swift’s Cactus Plant would also reduce its slaughter

around November and then regularly maintain lower kill volumes through April the

following year.

       125. Meanwhile, Defendants coordinated and agreed to refrain from expanding

their slaughtering and processing capacity, thereby further restricting supply, as further

described below.

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       B.     The Available Data Corroborates Witness 1’s Account

       126. Public reports, Defendants’ slaughter data, and the cattle sales data in

Plaintiffs’ possession, indicate that all Operating Defendants reduced and rationed their

slaughter volumes during the Class Period resulting in supracompetitive beef prices.

Operating Defendants also managed their respective slaughter volumes throughout the

Class Period in relative lockstep in order to ensure the supply of beef remained lower than

the skyrocketing demand. Operating Defendants did so despite cattle being readily

available and as Operating Defendants’ margins ballooned.

       127. The slaughter reductions, while most obvious at the beginning of each year,

occurred at various points throughout the Class Period. In particular, Operating Defendants

moderated their slaughter volume across the second and third quarters of most years in a

successful attempt to expand their margins, across a number of months, thereby also

forestalling both the onset, and minimizing the effect of, the increase in slaughter volume

that historically occurs in the fall. Operating Defendants also reacted to short one-to-two

week rallies in cattle prices, and one-off opportunities presented by market shocks, such as

the fire at Tyson Fresh’s Holcomb plant in August 2019.

       128. Operating Defendants’ joint slaughter management was not a reaction to

changes in beef demand, which, as admitted by Tyson Fresh’s head of procurement in

2018, had been “off the charts.”11 See also Figure 17 below, demonstrating rising beef


11
      Tyson Fresh Meats: What the Consumer Demands - John Gerber, VP, Cattle
Procurement, Tyson Foods; Kevin Hueser, VP, Beef Pricing, Tyson Foods, from the

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demand throughout Class Period. Nor did any Operating Defendant break from the

agreement and buy more cattle in an attempt to capture greater market share, despite all

posting profit margins clearly demonstrating that no Operating Defendant was running at

or near their marginal cost of production. From the end of the first quarter of 2015 through

the end of the class period, Operating Defendants posted record per head net margins. Even

excluding 2019 and 2020, which saw Operating Defendants’ margins skyrocket in the

aftermath of the Holcomb plant fire and COVID disruption (discussed below), Operating

Defendants average per head margins across the Class Period for the first, second, third

and fourth quarters vastly exceeded their pre-Class Period averages ($37 v. $0, $127 v.

$21, $134 v. $25, $116 v. -$16, respectively).12

       129. Operating Defendant rationing of the fed cattle supply amongst themselves

in parallel throughout the Class Period is demonstrated through Figure 1 below, which

records each Operating Defendant’s estimated quarterly slaughter volume:




2018 NIAA Antibiotic Symposium: New Science & Technology Tools for Antibiotic
Stewardship, November 13-15, 2018, Overland Park, KS, USA,
https://www.youtube.com/watch?v=qCip3WBcqzo.
12
        Per-head net margin estimates cited in the Complaint sourced from the Sterling
Profit Tracker produced by Sterling Marketing Inc. and published weekly on
www.drovers.com unless stated otherwise. Pre-class period average per head margins
calculated across 1997 to 2014.
                                             42
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     Figure 1. Operating Defendant’s Quarterly Fed Cattle Slaughter Volume13




      130. Figure 1 demonstrates that Tyson Fresh, Swift/Packerland, and National Beef

each dramatically reduced their slaughter across 2015, while Cargill held its slaughter

volumes steady following its 2014 cuts. These artificial reductions worked to cause the




13
         To derive Tyson, JBS and National’s beef slaughter volume figures produced in
Figure 2, Plaintiffs used Packing Defendants’ (in the case of National Beef, its
shareholders’) financial disclosures and Cattle Buyers Weekly’s record of each
Defendant’s fed cattle and non-fed cattle slaughter ratio to isolate the portion of their
reported quarterly revenue figures attributed to beef and by-products produced from fed
cattle slaughtered within the United States. Plaintiffs then determined the volume of fed
cattle (and beef) necessary to generate the disclosed revenue, taking into account
prevailing beef and by-product prices (as reported by USDA AMS boxed beef cutout
reports and USDA drop-credit values), carcass weights, carcass grading performance (by
region), and hot carcass/dressing percentages. Having derived Tyson, JBS, and National
Beef’s quarterly slaughter volumes, Plaintiffs then derived Cargill’s quarterly slaughter
figures by reference to Cargill’s market share over time,
                                                       .
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dramatic decline in fed cattle prices starting in 2015 and continuing throughout the class

period, while beef prices were stabilized or increased.

       131. And while the quarterly reporting period obscures certain shorter reductions

described below in Section [V.C-F], it does detail the remarkable extent to which Operating

Defendants’ quarter-to-quarter slaughter changes move in lockstep with each other. This

parallelism is consistent with and the product of an agreement to jointly manage and reduce

their slaughter levels below a competitive level.

       132. Figure 1 highlights the parallel reductions made by Operating Defendants in

the winter/spring to constrain the seasonal rise in fed cattle prices historically experienced

at this time, which had the effect of raising beef prices to a supra-competitive level. Tyson

Fresh, Swift/Packerland, CMS, and National Beef each cut production at a similar time and

by a similar amount:

           Q1 2015 (except Cargill whose production was flat after making significant
            cuts in 2014)

           Q1 2016

           Q1 2017

           Q1 2018

           Q4 2019 and Q1 2020

       133. This uniform reduction during periods of seasonally lower cattle availability

is not evident in the pre-Class Period. For example, in the fourth quarter of 2012, both

CMS and Swift/Packerland significantly increased their slaughter volumes (3.7% and

                                             44
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12.0%, respectively on a quarter-on-quarter basis), while Tyson’s held its steady (0.1%

increase), and National Beef engaged in notable cuts (-4.0% decline). Similarly, in Q3

2013, Tyson Fresh and National Beef increased their slaughter volumes, while

Swift/Packerland and CMS reduced theirs. Across Q2 to Q4 2014, Swift/Packerland

evidently sought to capture market share, first substantively increasing its slaughter volume

in second quarter (16.3% increase against other Defendants increases of between 4.8%-

10.2%) before holding it steady across the third and fourth quarters while each other

Defendant’s volumes declined in those two quarters.

       134. What is not apparent from Figure 1, is the deep nature of the cuts in 2015 and

2016 when comparing the same quarter to historic production (2012-2014). In 2015, the

production decreased in the year overall and each quarter. For 2016, the production

decreased overall and for 3 of 4 quarters. Tyson Fresh, Swift/Packerland, CMS, and

National Beef’s production was down comparing year-on-year changes against an average

of 2012-2014 as seen in Figure 7:




                                             45
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agreement to manage slaughter levels after their initial cut – fully five years later, none of

the Operating Defendants have returned to their pre-2015 levels despite record

profitability, while Independent Packers slaughter is up nearly 50% against their pre-Class

Period average, and 25% against their 2015 levels. The result of such action gave

Operating Defendants the ability to manage collective demand such that it never outpaced

supply, and ensured the supply of beef stayed below demand.

       C.     Operating Defendants slash production in 2015

       140. The impact of the conspiracy was sudden and dramatic in 2015, evidenced

by publicly available data. Each Operating Defendant cut its annual cattle slaughter

volumes during the Class Period by an average of about 11.3 percent compared to the pre-

class period (2007-2014). In sharp contrast, other meatpackers increased their cumulative

annual slaughter volumes during the same period by an average of 41.2 percent.

       141. Data breaking out slaughter volumes for each year of the Class Period

highlight Operating Defendants’ extreme reductions in 2015, though other beef producers

maintained or increased their volumes that same year. Despite a slight uptick in the final

quarter of 2015, Tyson Fresh’s overall 2015 slaughter volume was down by 4 percent as

compared with 2014 levels, Swift/Packerland by 17 percent, and National Beef by

6 percent. CMS’s 2015 production was flat compared with the prior year but 11.3% below

historical levels. All this occurred during a sustained recovery in the broader economy, as

the U.S. population grew steadily, and beef demand was high.



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          142. In the first quarter of 2015, Tyson Fresh, Swift/Packerland, and National

Beef’s year-on-year slaughter was down by approximately -1.8%, -11.2%, and -8.6%,

respectively. CMS’s quarterly slaughter volume was down against a 2012-2014 average

and its first quarter 2015 slaughter volume, like its co-conspirators, was still down on its

fourth quarter 2014 volume.

          143. These declines were reflected in the Defendants’ public reporting. Tyson’s

May 4, 2015 10-Q noted that its “sales volume decreased [in the quarter ending March 28,

2015, year-on-year] due to a reduction in live cattle processed.” Jefferies, National Beef’s

then majority shareholder, noted in its 10-Q filed May 8, 2015, that National Beef’s

revenues were down year-on-year for the first quarter “primarily to lower sales volume, as

fewer cattle were processed.”15 JBS S.A.’s earnings presentation for the first quarter noted

a 1.1% year-on-year decline in the “number of animals processed” by its JBS USA beef

unit.16

          144. Expanding on their cuts, Tyson Fresh, Swift/Packerland, CMS, and National

Beef extended their joint slaughter reduction during the second and into the third quarters


15
        Jefferies 10-Q, May 8, 2015 at 57, http://ir.jefferies.com/reports-filings/sec-
filings/sec-filings-details/default.aspx?FilingId=10683755.
16
        JBS S.A., 1Q 2015 Results, May 13, 2015 at 15, https://mz-
filemanager.s3.amazonaws.com/043a77e1-0127-4502-bc5b-21427b991b22/central-de-
resultadoscentral-de-
downloads/8bc0bd99f655d7c38a18d265a7ed397678c5e9774341f1efd1c98745f1a8a360/
1q15_earnings_release.pdf. JBS USA Beef segment also encompasses JBS S.A.’s much
smaller Australian and Canadian beef businesses and Australian sheep operations.
Presentation also noted a -1.1% decline in cattle processing (both fed and non-fed) across
its U.S., Australian and Canadian beef businesses. JBS USA’s fed cattle to non-fed cattle
slaughter ratio throughout the class period was 80% fed, 20% non-fed.
                                              50
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of 2015. Across the second quarter, Tyson Fresh, Swift/Packerland, and National Beef’s

year-on-year slaughter was down by approximately -5.4%, -12.8%, and -6.2%,

respectively. CMS continued to hold to its low 2014 volume, posting an essentially flat

year-on-year growth of 1.8% in the second quarter, and -12.7% against its 2012-2014

average second quarter production.

       145. Again, this reduction in cattle purchases was also reflected in Tyson Foods17,

JBS S.A.18, and Jefferies (National Beef’s)19 financial reporting.

       146. Operating Defendants’ determination to break cash cattle prices through their

collective slaughter reductions and reduced cash cattle purchases was remarked upon by

industry analysts at the time. On June 12, 2015, analyst Cassandra Fish of “The Beef” and

formerly a risk manager at Tyson, speculated as to when one of the Operating Defendants

might break ranks:



17
        Tyson’s 10-Q for its quarter ending June 27, 2015 recorded year-on-year declines
in sales in its beef segment revenue due to a “reduction in live cattle processed”. See
Tyson Foods 10-Q filed August 2, 2015, p. 38. See also10-K filed November 23, 2015, p.
29 noting reduction in sales revenue in FY 2015 as against FY 2014 due to lower cattle
processing.
18
        JBS S.A., 2Q 2015 Results, August 13, 2015 at 15, https://mz-
filemanager.s3.amazonaws.com/043a77e1-0127-4502-bc5b-21427b991b22/central-de-
resultadoscentral-de-
downloads/02fd1b6f7f1cee632e5af617767bc7a98017ead954465d63d1e8633b2ec5a3cd/2
q15_earnings_release.pdf (noting -0.9% decline in cattle processing (both fed and non-
fed) across its US, Australian and Canadian beef businesses).
19
        Jefferies 10-Q, August 5, 2015 at 52, http://d18rn0p25nwr6d.cloudfront.net/CIK-
0000096223/6f776d2a-f247-4868-a18b-32f9e3b4eefe.html (noting revenues for three and
six month 2015 periods decreased year-on-year “primarily due to lower sales volume, as
fewer cattle were processed”.); Jefferies 10-Q, November 5, 2015 at 53 (noting the same
in relation to 3Q 2015 and first three quarters of 2015).
                                             51
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       Rarely has this industry segment [the beef packers,] been an all-for-one and
       one-for-all group. All packers need to buy cattle inventory. Most have cut
       hours. So will someone break ranks, pay up for cattle and add hours to
       capture the better realization that the next boxed beef rally will bring? Will
       one short a customer only to find that order filled by a competitor?20

       147. Ms. Fish answered her own question a few weeks later, remarking on

June 25, 2015 that the “packers refuse to reach for cattle and are currently in command.

After 3 weeks of sharply curtailed kills, packers are exhibiting incredible discipline and

letting the kill increase gradually,” limiting the ability “of feeders to get all cattle marketed

[i.e., sold] in a timely fashion.”21

       148. During the remainder of 2015, Operating Defendants continued to restrain

their slaughter levels and curtail their purchases of cash cattle even after it became clear

that slaughter-ready cattle had been “backed up.”22 They did so even though under-utilizing

their plants would hurt their margins.

       149. Tyson’s CEO, Donnie Smith, admitted as much on August 3, 2015, when

discussing Tyson’s decreased purchases over the preceding quarter, noting “[b]ecause we

run for margin and not for market share, we’re not willing to overpay for cattle and we’ve

had to cut back on our hours at our plants resulting in inefficiencies and added costs. In

the short-term, we are negatively impacted, but markets will equilibrate and conditions are


20
        Cassandra Fish, Futures Holding Gains; Waiting on Cash, THE BEEF (Jun. 11,
2015), https://www.thebeefread.com/2015/06/11/futures-holding-gains-waiting-on-cash/.
21
        Cassandra Fish, Another Round of the Blues, THE BEEF (Jun. 25, 2015),
https://www.thebeefread.com/2015/06/25/another-round-of-the-blues/.
22
        Cassandra Fish, Kills Too Small For Too Long, THE BEEF (Sep. 8, 2015),
https://www.thebeefread.com/2015/09/08/kills-too-small-for-too-long/.
                                            52
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expected to improve for the long term.”23         In response to a question regarding the

consequent impact of Tyson’s underutilization of its plant capacity, Mr. Smith elaborated:

       In terms of quantifying the impact, we know when we’re running 34s and
       36s a week in our plants that that does cost us. It raises the cost in our plant,
       makes us a lot less efficient, so it does have a cost to us. I don't know that I
       can quantify that right off the bat, but it does impact margin.24

       150. Tyson Fresh, Swift/Packerland, CMS, and National Beef’s concerted

actions to depress cattle prices across 2015 (and their successes) are summarized by the

below chart. Figure 8 compares the price of fed cattle across 2015 against the number of

fed cattle slaughtered across 2014 and 2015 at packing plants subject to AMS LMR

reporting obligations.25 These figures are a very good proxy for Tyson Fresh,

Swift/Packerland, CMS, and National Beef’s cumulative slaughter volume as they

operate the substantial majority of such plants and appear to provide over 90% of the

reported transactions.26 As demonstrated in Figure 8 below, the 2015 slaughter volumes

are lower than 2014 in every month except February and November and lower than 2010-

2014 averages in every month except October.




23
        Tyson Foods, Q3 2015 Earnings Call, Seeking Alpha Transcript (Aug. 15, 2015).
24
        Id.
25
        Figure 8 were prepared using USDA Market News Service Reports: LM_CT106-
National direct slaughter, committed and delivered, LM_CT151-National Weekly-
Formula, Forward, Negotiated Net (Domestic), and LM_CT154-Weekly National direct
slaughter, negotiated. Fed cattle prices shown in Figure 19 is the weighted average price
of all four purchase categories (formula, forward, negotiated (i.e., cash), negotiated grid).
26
        See Exhibit 1.
                                             53
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                                    Figure 8.
   Total Fed Cattle Slaughter Volumes and Fed Cattle Prices – all purchase types




      D.     Operating Defendants continued to artificially limit supply into
             2016.

      151. By “ration[ing] their new purchases [of cattle]” and running shorter 32-hour

weeks in early January, Operating Defendants dampened rising cattle prices and extended




                                          54
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the rally in beef prices.27 Operating Defendants then further inflated beef prices by

sustaining low kills across February and March.28

       152. Tyson Fresh, Swift/Packerland, CMS, and National Beef reduced their

slaughter volumes in the first quarter of 2016: Tyson Fresh (-0.7%), CMS (-3.3%),

Swift/Packerland (-16.3%), National Beef (-4.4%). Moreover, all Operating Defendants

slaughtered fewer cattle than their average first quarter volume across 2012-2014: Tyson

Fresh (-4.5%), Swift/Packerland (-21.7%), CMS (-9.3%), and National Beef (-14.9%).

       153. As a result, beef prices continued to skyrocket into March 2016, despite

significantly lower than expected cattle prices. By rationing the available cattle amongst

themselves, Operating Defendants posted average weekly margins of approximately $63

per head, which was, at that time, one of their “best Q1 in history” and well above their

pre-Class Period first quarter average of $0 per head.29

       154. In the second and third quarters, each Operating Defendant’s kill volume

remained below their 2012 to 2014 averages.

       155. Despite an increase in the availability of fed cattle, except for Cargill, each

Operating Defendant’s annual slaughter volume in 2016 remained below their 2014 levels




27
        Cassandra Fish, Global Sell Off Smacks Cattle, THE BEEF (Jan. 4, 2016),
https://www.thebeefread.com/2016/01/04/global-sell-off-smacks-cattle/.
28
        Cassandra Fish, Yet More Consolidation, THE BEEF (Jan. 6, 2016), https://
www.thebeefread.com/2016/01/06/yet-more-consolidation/.
29
        Cassandra Fish, This Week’s Cash Trade, THE BEEF (Mar. 22, 2016),
https://www.thebeefread.com/2016/03/22/sell-off-accelerates/.
                                           55
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(Tyson Fresh (-6%) and Swift/Packerland (-6%)) or flat (National Beef).30 Cargill’s 2016

slaughter remained significantly below the 2012-2014 average at -3.7%.

      156. Each Operating Defendant’s refusal to break from their collective adherence

to rationing the available cattle supply is all the more remarkable given the margins on

offer to Operating Defendants across 2016. In the third and fourth quarter alone, Operating

Defendants were realizing average per head margins on their fed cattle purchases of $123

and $153 per head. Not only were these margins significantly above pre-Class Period

averages ($25 and -$16 per head), but they also exceeded the Operating Defendants’ most

profitable third and fourth quarters in modern times by about $30 and $100 per head,

respectively. Operating Defendants therefore had both the incentive and the ability to buy

and slaughter more cattle.

      E.     After historic cuts, Operating Defendants continued to keep supply
             restrained, resulting in higher beef prices and unprecedented
             margins into 2017 and 2018

      157. Going into 2017, Operating Defendants worked to ensure that any increase

in their collective slaughter volumes did not outpace the growth in slaughter weight cattle

availability and beef demand. Tyson, Swift/Packerland, CMS, and National Beef each

reduced their volumes in lockstep during the first quarter, before raising them together

across the second quarter. See Figure 1.




30
       2018 Meat & Poultry Facts, 47th Ed., NORTH AMERICAN MEAT INSTITUTE,
2019, at 11.
                                          56
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       158. And while cattle prices did rise from $119/cwt at the beginning of February

to a high of $144/cwt in first week of May (similar to pre-Class Period spring highs),

Operating Defendants responded by reducing their kills.

       159. As with 2016, Operating Defendants enjoyed substantial profits across 2017,

posting then record per-head margins in the second and third quarters ($128 and $147 per

head, respectively). Indeed, Operating Defendants’ average per head margins for the first

and fourth quarter, $42 and $88 per head, respectively, stood second only to the quarterly

profits they generated in 2016. And again, each Operating Defendant refused to add cattle

to expand their market share despite the obvious profit potential. Instead, they kept their

production in lockstep with one another, rationing supply amongst themselves to ensure

the continued suppression of cattle prices and resulting increase in beef prices.

       160. Their scheme continued into 2018. Each Operating Defendant then began to

tell the market that they had, as a result of the plant closures discussed, insufficient capacity

to slaughter the supposed “wall of cattle” due to reach slaughter-weight in the spring and

summer of 2018.31 Operating Defendants then backed off their respective kill schedules

during the first quarter of 2018.32 See Figure 1, detailing significant decline in first quarter


31
        Cassandra Fish, Still Green!?!, THE BEEF (Mar. 27, 2018),
https://www.thebeefread.com/2018/03/27/still-green/ (“The [packers’] mechanical
[slaughter] capacity exceeds needs [across Q2 2018]. The limitation perception is linked
to labor. The perception of there being a limitation has created fear and inspired some
cattle feeders to “get in line” by selling [cattle] out-front [i.e., on captive supply
agreements].”).
32
        Cassandra Fish, Futures Trade Both Sides; Cash Poised To Trade Lower, THE
BEEF (Apr. 2, 2018), https://www.thebeefread.com/2018/04/02/futures-trade-both-sides-
cash-poised-to-trade-lower/
                                               57
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2018 slaughter as against fourth quarter 2017. As Ms. Fish reported, “Looking back at

March’s fed slaughter rate, it underperformed expectations. . . . Packers appear to have

responded to the tight supply of market-ready cattle in the north by keeping the kill

constrained and margins profitable and stable.” The reduction in slaughter occurred despite

record strong beef demand and Operating Defendants’ under-utilized capacity.

       161. As a result of their commitment to rationing the available cattle amongst

themselves, across 2017 and 2018 Tyson Fresh, Swift/Packerland, CMS, and National

Beef’s annual slaughter volumes remained 5.4-7.2%, 10.2%, 9.1% and 12.0-12.8% below

their pre-Class Period averages, respectively. See Figure 7. By contrast Independent

Packers slaughter volume across 2017 and 2018 were up 46.5% and 56.1%, respectively,

on their collective pre-Class Period averages.

       F.     Operating Defendants’ 2019 and 2020 Bring Continued Parallel
              Slaughter, Reaction Against Independent Self-Interest

       162. Going into 2019, beef demand remained “terrific”, encouraging packers to

run plants to meet customers’ demand.33 In ordinary times, absent a conspiracy, Operating

Defendants would compete to secure as much cattle as possible to supply beef customers.

       163. Instead, Operating Defendants continued to work together to constrain and

limit the advance in cattle prices that market conditions warranted. In the first quarter of

2019, each Operating Defendant reduced their slaughter volumes, posting similar quarter-


33
        Cassandra Fish, How About That, THE BEEF (Feb. 11, 2019),
https://www.thebeefread.com/2019/02/11/how-about-that-3/ (“Rather obviously, beef
demand is terrific. Even in February, notoriously a slow beef demand month. Packer
margins are record wide for February.”).
                                            58
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on-quarter declines: Tyson Fresh (-2.4%), National Beef (-4.0%), CMS (-6.6%), and

Swift/Packerland (-7.4%). Operating Defendants each maintained comparably lighter

slaughter volumes across the first three months of 2019, ensuring that their collective

demand did not exceed the available supply. These supply restraints included taking

downtime or reducing the number of hours the plant operates. Operating Defendants

continued to constrain their weekly kill volume and decline to increase production of beef

to meet rising demand, thereby artificially inflating the price of beef. 34

       164. The resulting impact of Operating Defendants’ slaughter restraint at the

beginning of 2019 and their continued adherence to a common pricing strategy was that

beef prices increased, despite the fact that prices for cattle continued to fall across the

summer, working their way to an apparent bottom of about $109-110/cwt in the end of

June. This left producers facing an average $106 per head loss, against Operating

Defendants startling estimated per head profit of $257.35

       165. Despite robust beef demand, Defendants’ restrained production left

wholesale beef prices higher on a year-on-year basis, despite the fact fed cattle prices were

flat. Ms. Fish reported beef prices were “sizzling” despite most cattle producers losing

money.36


34
        See, e.g., Cassandra Fish, And the Beat Goes On, THE BEEF (Feb. 14, 2019),
https://www.thebeefread.com/2019/02/14/and-the-beat-goes-on-2/.
35
        Sterling Beef Profit Tracker: week ending June 21, 2019, STERLING MARKETING
INC. (June 26, 2019), https://www.drovers.com/news/industry/profit-tracker-feeding-
losses-reach-triple-digits.
36
        Cassandra Fish, Packers Press and Cash Softens, THE BEEF (August 9, 2019),
https://www.thebeefread.com/2019/08/09/packers-press-and-cash-softens/.
                                             59
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       166. A slight $2-3/cwt rise in prices allowed producers to realize a paltry per head

profit of about $24 by the week ending August 9, 2020, against the Operating Defendants’

profit of $192 per head.

       167. Notwithstanding the predicted cash cattle strength across August, a chance

fire at Tyson’s Holcomb, Kansas slaughter and processing plant on August 9, 2019

provided an opportunity for Operating Defendants to work cattle prices lower still, sending

cattle producers back into the red. Tyson closed the Holcomb plant indefinitely in the

aftermath of the fire.37

       168. However, following the plant fire, Tyson Fresh, Swift/Packerland, CMS, and

National Beef all slashed their fed cattle bids and hiked their beef prices. These actions

caused a $5/cwt drop in fed cattle prices and a $14/cwt rise in wholesale beef prices the

following trading week.38 This saw Operating Defendants’ per head margins rise from

$191 to $358 in the week ending August 16. The following week, Operating Defendants’

margins continued to expand, with the spread between fed cattle prices and beef values




37
       Over 3,800 workers at Tyson Foods beef plant in Kansas out of work after fire,
REUTERS (Aug. 11, 2019, 1:30 PM), https://www.reuters.com/article/us-tyson-foods-
fire/over-3800-workers-at-tyson-foods-beef-plant-in-kansas-out-of-work-after-fire-
idUSKCN1V10J1?source=content_type%3Areact%7Cfirst_level_url%3Anews%7Csecti
on%3Amain_content%7Cbutton%3Abody_link.
38
       Sterling Beef Profit Tracker: week ending August 16, 2019, STERLING
MARKETING INC. (August 20, 2019), https://cdn.farmjournal.com/s3fs-public/inline-
files/Beef%20Tracker%2081919.pdf. Live cattle futures contracts were also negatively
impacted, with the market responding with two limit-down trading days on September 12
and 13, 2019.
                                            60
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extending to a then-record high of $67.17/cwt., $39.51/cwt above the average spread for

the same week across 2016-2018.

        169. Defendants blamed the loss of Holcomb’s 5,500-6,000 head per day

slaughter capacity for these price changes. In a competitive market and with record profits,

the other Operating Defendants would have wanted to increase their purchases of cattle

and increase their slaughter numbers to both taken advantage of the high prices, and to take

market share from the industry leader Tyson.

        170. Instead, in the month following the Holcomb fire, each Operating Defendant

decreased its production. The parallel and coordinated decrease in production in the face

of a large supply restraint cannot be explained by legitimate reasons, but instead

demonstrates the commitment by the Operating Defendants to maintain high margins and

keep cattle slaughter restricted. Figures 9-13 below demonstrate the parallel September

cuts:




                                            61
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       171. Operating Defendants’ purchase and kill reductions in the aftermath of the

Holcomb fire ensured that their collective supply remained constrained, giving the

Operating Defendants the power to increase beef prices, while paying less for the cattle.

       172. Tyson Fresh, Swift/Packerland, CMS, and National Beef consequently

reaped record high margins in the weeks that followed the Holcomb fire by stepping down

fed cattle prices and raising beef prices in parallel. As cattle prices bottomed out in the

week ending September 13, 2019, the spread between Operating Defendants and Cattle

Ranchers per head margin exceeded $600, with packers making over $400 per head while

producers sustained $200 per head losses.39

       G.     Defendants idled and closed plants, refrained from expanding
              processing capacity

       173. The conspiracy also entailed a longer-term strategy to restrict beef supplies.

Operating Defendants agreed to permanently close processing facilities without replacing

most of the lost capacity. These actions came on the heels of reduced production capacity

already caused by a series of plant closures shortly before the Class Period, including these:

              a.     On January 17, 2013, Cargill Inc. announced it would shut down

                     its Plainview, Texas, beef-processing facility, one of Cargill’s

                     larger plants, in just two weeks. This closure cut Cargills’s




39
       Sterling Beef Profit Tracker: week ending September 13, 2019, STERLING
MARKETING INC. (September 18, 2019), https://cdn.farmjournal.com/s3fs-public/inline-
files/Beef%20Tracker%2081919.pdf.
                                            65
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                    slaughter capacity by 4,650 cattle per day, which was “nearly 4%

                    of the U.S. beef industry current capacity.”40

             b.     In April 2013, JBS USA followed by acquiring an inactive plant

                    in Nampa, Idaho, only to keep it idle. JBS stated that it had “no

                    immediate plans to reopen the facility,” which would have been

                    capable of processing about 1,100 cattle per day, and, upon

                    information and belief, it remains idle today.41

             c.     In June 2014, National Beef closed its Brawley, California, plant.

                    This eliminated another 2,000 cattle per day of slaughter

                    capacity.42

             d.     The next month, Cargill Inc. announced it would also close its

                    Milwaukee, Wisconsin, plant on August 1, 2014. This closure

                    decreased the industry’s slaughter capacity by another 1,300 to

                    1,400 cattle per day.

             e.     Also in 2014, Tyson Foods shut down its Cherokee, Iowa,

                    processing plant. Tyson Foods officials “told the city they would



40
        Apr. 3, 2013, Votorantim Equity Research Report on JBS.
41
        JBS USA Acquires U.S. Operations of XL Foods, JBS April 4, 2013 Press Release,
https://jbssa.com/about/news/2013/04-04/#.X-eami2ZPow
42
        National Beef even rejected a significant package of incentives offered by local
government utilities and nearby feedlots when it decided to close its Brawley plant.
“National Beef plant closing Brawley Facility,” PROGRESSIVE CATTLEMEN (Mar. 24,
2014), https://www.progressivecattle.com/news/industry-news/national-beef-
plantclosing-brawley-facility.
                                             66
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                    consider handing over the shuttered plant—but not to any firm that

                    they believe is competition.”43 In 2018, Tyson Foods allowed

                    another company to purchase the plant but only after inserting a

                    requirement into the deed that “limited the amount of cattle that

                    can be processed at the plant for the next 10 years.”44

      174. Operating Defendants continued to shrink the beef industry’s processing

capacity when the Class Period began:

             a.     On September 11, 2015, Cargill Inc. announced it would sell the

                    Plainview, Texas, plant that it idled in February 2013.

             b.     In August 2015, Tyson Food decreased the industry’s slaughter

                    capacity by another 2,000 cattle per day by shuttering its Denison,

                    Iowa plant.

      175. By idling these plants, Operating Defendants slashed the industry’s annual

slaughter capacity by some two million cattle per year—excluding JBS USA’s continued

idling of the Nampa, Idaho plant.

      176. While overall industry slaughter capacity increased slightly between 2015

and 2018, this nominal gain was primarily not the work of any Operating Defendant.

Instead, it was attributable to other beef-processing companies. For example, One World


43
      Available at https://www.desmoinesregister.com/story/money/business/
2016/07/08/held-hostage-tyson-iowa-towns-dilemma/86449400/.
44
      Available at https://www.desmoinesregister.com/story/money/business/
2018/09/19/tyson-foods-cherokee-iowa-plant-iowa-food-group-moves-justin-robinson-
pork-beef-chicken-processing/1356962002/.
                                         67
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Beef Packing restored about 2,000 cattle per day by reopening the Brawley, California

plant closed by National Beef in 2014.

       177. In sharp contrast to the Operating Defendants’ behavior, these other beef

processing companies acted consistent with their competitive interests by increasing their

capacity and output in response to increased demand for beef, but their increased efforts to

supply the downstream market with beef had little effect on the prices due to their nominal

market share. Operating Defendants’ market dominance and stranglehold on the industry

meant that these minor incursions by the few remaining independent processors increased

availability only in isolated pockets and had negligible effect on restoring supply (and

thereby reducing beef prices) in most locations.45

       178. In April 2015, Tyson Fresh completed upgrades to its Dakota City, Nebraska,

plant. But Tyson only made them after repeated delays in a project that was originally

scheduled to be completed about two years earlier. These upgrades fell substantially short

of replacing the production capacity that Tyson alone had eliminated shortly before and

during the Class Period, much less Operating Defendants’ collective capacity elimination.




45
        JBS was the only Defendant that made any capital investment to increase industry
slaughter capacity during the Class Period. JBS expanded its Hyrum, Utah plant in 2015
and 2016. But, according to JBS press releases and several industry publications, the
purpose of that expansion was to increase its capacity to process culled dairy cows not fed
cattle. Unlike fed cattle, culled cows are not used for beef—the product at issue in this
lawsuit—but rather are used for ground beef.
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      H.     Operating Defendants signaled their conspiracy and encouraged
             each other to maintain it

      179. One method that Operating Defendants used to coordinate, promote, and

monitor their conspiracy (evident now only with the benefit of hindsight afforded by the

disclosure of other now-apparent conspiratorial evidence) was to signal and discuss with

each other their activities and plans during earnings calls. Examples of some

communications include the following:


             •      During a May 2014 earnings call, JBS S.A. offered this industry
                    forecast: “For 2015, I think beef will keep being tight. I don’t see
                    any big – an increase in beef supply in 2015.”

             •      During a May 2014 Q4 earnings call, Tyson Foods communicated
                    that it was striving for margin and not market share: “For FY15,
                    we expect fed cattle supply to be down 5% to 6% from last year,
                    and we think we've experienced the bottom of the beef supply
                    cycle. After this year, we believe we'll see slow incremental
                    improvement in supply. Our beef segment results should improve
                    in the back half of the year, and while profitable for the year,
                    FY15 results are expected to be below FY14. It is important to
                    remember that we'll continue to run our beef business for
                    margin, not market share.”

             •      During Tyson Food’s Q4 2015 earnings call, Mr. Smith further
                    acknowledged that “You’ve got relatively low cattle supply, you’ve
                    got too much -- well, I should not say too much, that’s probably not
                    the right way to say it, but you’ve got excess industry capacity and
                    that limits our ability to drive margins above the 1.5% to 3%, we
                    think.”

             •      On Tyson Foods’s August 3, 2015, Q3 earnings call, its CEO Donnie
                    Smith admitted it was underutilizing its plants, despite hurting its
                    margins. when discussing Tyson’s decreased purchases over the
                    preceding quarter, noting “[b]ecause we run for margin and not for
                    market share, we’re not willing to overpay for cattle and we’ve had to

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            cut back on our hours at our plants resulting in inefficiencies and
            added costs. In the short-term, we are negatively impacted, but
            markets will equilibrate and conditions are expected to improve for
            the long term.” He also admitted that “industry capacity utilization
            [was] probably in the low 70s.” In response to a question regarding
            the consequent impact of Tyson’s underutilization of its plant
            capacity Mr. Smith elaborated: “In terms of quantifying the impact,
            we know when we're running 34s and 36s a week in our plants that
            that does cost us. It raises the cost in our plant, makes us a lot less
            efficient, so it does have a cost to us. I don't know that I can quantify
            that right off the bat, but it does impact margin.”

      •     On its November 12, 2015, Q3 earnings call, JBS USA’s CEO
            Andre Nogueira de Souza publicly praised Defendants’ efforts to
            reduce industrywide slaughter capacity through plant closures,
            remarking that “the reduction that we saw in the cutbacks of
            production in U.S. . . . that was with the shutdown of nine plants
            the last two years reduced the cattle. (inaudible) cost us [$3.5
            million]. I think that will be a very good position balancing the
            industry in 2016, 2017 and 2018.”

      •     On a May 2016 JBS S.A. Q1 earnings call, JBS USA’s CEO
            Mr. Nogueira de Souza described the company’s supply strategy:
            “So I don’t see any imbalance in this near future, even cattle is
            coming back and we’re going to see a little bit more production of
            beef this year and next year. It’s still way, way below how it was
            few years ago and we’ll be balancing at this side because a lot of
            plant was shut but it’s too way below our historical production
            level.”

      •     On its November 2016, Q4 earnings call, Tyson Foods acknowledged
            the widening of the meat margin: “The dynamic is that the livestock
            prices have not come – they've come down faster than the retail
            prices have, which has allowed us to make the margins that we have
            right now in both beef...”




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       I.     Parallel Reductions in Cash Cattle Purchases and Anticompetitive
              Queuing Conventions

       180. Operating Defendants procure their fed cattle in three ways: on the cash cattle

trade market (the industry’s version of the spot market), through formula or forward

contracts, and for Swift/Packerland and CMS relying on their own cattle. Through these

contracts the producer agrees to deliver its cattle once they have reached slaughter weight

at a price to be determined at the time of delivery.

       181. To increase their meat margin, Operating Defendants jointly managed their

purchases of domestic fed cash cattle in parallel below the available supply, including by

reducing the number and volume of purchases. Operating Defendants took advantage of

the supply glut and lower cash cattle prices and increased their meat margin. Operating

Defendants expanded their meat margin by refusing to pass-on the savings from the

reduced cattle prices to purchasers of beef, which would normally happen in a competitive

market. Instead, beef prices remained high while cattle producers, indicating a collusive

agreement between Operating Defendants.

       182. In addition to Operating Defendants’ reduced cash cattle purchases, each

employed an antiquated “queuing convention” throughout the Class Period which served

to limit producers’ ability to generate price competition for their cattle.

       183. The convention, which operated predominately in relation to those cattle sold

in the cash market, works as follows: once a producer receives a bid from a Packer, the

producer may either accept the bid or pass on it, but may not “shop” that bid to other


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packers, i.e. require competition for the bidding process. If another Packer offers the same

bid as the original bidding Packer, the producer must give the original Packer the right of

first refusal.

        184. The obligation to give a right of first refusal without consideration is under

threat of boycott. Operating Defendants have adhered to and enforced the convention for

decades, including across the Class Period, and treat it as a mandatory industry custom.

        185. One former feedlot manager, Matt T. (“Witness 2”), confirmed that the field

buyers from Tyson Fresh (Brian Alsup), Swift (Levi Canales, and prior to him, Chad

Miller), CMS (Rick Vogel, and prior to him, Steve Brown), and National Beef (Richard

Duffy) who visited his feedlot enforced strict adherence to this convention with threats of

retaliation. In particular, each of these field buyers individually spoke to him about the

importance of his feedlot complying with the convention, and that they would not “come

by” anymore should he break with it.

        186. Witness 2 further reports that when he took over management of the feedlot

in 2012, the feedlot would only receive bids from National Beef and CMS. When he

subsequently spoke to the field buyers from Tyson Fresh (Mr. Alsup) and Swift

(Mr. Miller) responsible for his region in the fall of 2012, they both told him that they had

stopped visiting the feedlot because Witness 2’s predecessor had broken with the

convention by “shopping” their bids. Witness 2 reports that the Tyson Fresh and Swift

field buyers re-commenced visiting the feedlot after he confirmed his commitment to

following the convention.

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       187. Witness 2 also heard from the Operating Defendants’ field buyers and other

industry participants about other producers being “blackballed” for breaking with the

queuing convention. In those circumstances, Witness 2 understood that the Operating

Defendant who was “on the cattle” would be tipped off as to the producer’s “breach” of

the convention by the field buyer whom the producer contacted while shopping the

Operating Defendant’s bid, or would ex-post pressure the producer for details of its sale.

       188. As evidenced by the expanding meat margin, Operating Defendants

collectively refused to pass-on any savings from the anticompetitive conduct toward the

cattle producers to Plaintiffs and Class Members, instead keeping the ill-gotten gains for

themselves.

VI.    EFFECTS OF DEFENDANTS’ ANTITRUST VIOLATIONS

       A.     Defendants’ conspiracy increased the spread between cattle and beef
              prices

       189. Droughts from 2011 through 2013 caused fed cattle prices to steadily

increase. Predictably, wholesale prices of beef moved in tandem, maintaining a constant

relationship (or margin) between the two. As a result, Operating Defendants’ profits on

average were trimmed to margins of only 1 to 3 percent.

       190. The DOJ has recognized that when the beef market is functioning

competitively, a strong relationship exists between the supply of cattle and the price of beef

charged to direct purchasers:

       [A]ll else being equal, when the meat packing industry reduces production
       levels, feedlots and cattle producers are paid less for fed cattle because

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       fewer fed cattle are demanded and customers pay more for [beef] because
       less is available for purchase. Because the supply of fed cattle and
       demand for [beef] are relatively insensitive to short-term changes in price,
       even small changes in industry production levels can significantly affect
       packer profits.46

       191. Thus, in a competitive market, lower wholesale beef prices naturally follow

lower cattle prices. Once the conspiracy took hold, the spread between cattle and beef

prices grew significantly. Operating Defendants’ restriction of the beef supply caused cattle

prices to slump, while Operating Defendants charged direct purchasers for beef at elevated

prices that would not have existed in the market but for Operating Defendants’ artificial

supply restraints.

       192. Figure 4 is a graph constructed from published USDA data. It captures the

steep climb of the spread during the Class Period, which began after a period of very

minimal growth from 2012 to 2015:




46
       U.S. v. JBS, Amended Complaint, ¶¶ 26-27.
                                         74
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2014, the average farm-to-wholesale spread was about $34. But from 2015 to 2018, the

average spread was about $54—a 59% increase. The spread continued to balloon, by 2020

reaching about $71, a 109% increase from the pre-class period average.

       194. Operating Defendants’ ability to cut beef production while maintaining

inflated beef prices during the Class Period provides compelling circumstantial evidence

of their conspiracy. In a beef market free from collusion, if a competitor reduces its

purchase of cattle, other competitors quickly pick up the slack to boost their sales and

increase their market shares.

       B.     Tyson Foods and, jointly, JBS S.A. and JBS USA falsely claimed their
              record profits were due to market prescience, not supply constraints

       195. Throughout 2017 and 2018, on earnings conference calls, executives from

JBS S.A. and Tyson Foods frequently attributed their historically high profits to their

ability to accurately foresee the volume of cattle that would enter the beef supply chain in

the upcoming years. Examples of these boasts include the following:

                    On a Q3 2017 earnings call on August 7, 2017, Tyson Foods
                     reported a beef-business operating margin of 3.7 percent for the
                     third quarter and emphasized its confidence in the beef business
                     going forward: “With ample supplies of cattle, we see very good
                     conditions for our beef business as far out as 2020, as we enter the
                     early stages of a multiyear expansion cycle. Absent a shock to the
                     system such as a drought or an import ban, our beef business is well-
                     positioned for profitable, long-term growth.” Tyson
                     acknowledged that it was considering raising its previously
                     forecasted 1.5–3 percent normalized operating margins. But
                     despite ample supply of cattle and high demand for beef,
                     Defendants did not increase cattle purchases or cattle slaughter.



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           On a Q2 2018 earnings call on May 7, 2018, Tyson Foods
            announced forecasted beef operating margins of 6 percent for the
            year—at least twice its normalized operating margin range of 1.5–
            3 percent. Tyson claimed the huge jump was attributable to “those
            cattle on feed reports and knowing that the supplies in our region
            are exceptionally good.”

           On JBS S.A.’s Q1 2018 earnings call on May 15, 2018, JBS S.A.
            reported an EBITDA margin of 6.1 percent for the quarter and
            forecasted that the company would enjoy record beef margins for
            the next two quarters. JBS USA’s CEO and President Andre
            Nogueira emphasized that its performance was not based on
            “taking share from anyone.”

           On a Q3 2018 earnings call on August 6, 2018, Tyson Foods
            reported a beef operating margin of 8 percent for the quarter.
            Tyson Foods stated that it had an “optimistic outlook” because
            “we have good visibility into 2021 . . . that’s good because we do
            see the number of animals that are out there.”

           On a Q2 2018 earnings call on on August 15, 2019, JBS S.A.
            reported a beef EBITDA margin of 10.2 percent for the quarter.
            JBS USA’s CEO and President Andre Noguiera stated that it was
            “moving the overall margin in beef [to] a different level that was
            in the past.” JBS added that it benefitted from shutting several
            plants in the previous five years, and that it could not see how
            U.S. beef could “be less profitable in 2019 compare [sic] how it is
            going to perform in 2018.”

           On a Q4 2018 earnings call on November 13, 2018, Tyson Foods
            reported record beef operating margins of 8.9 percent for the
            quarter and 6.7 percent for the year and stated that it expected
            similar results in the following years thanks to visibility into cattle
            supply: “As we look at 2019, 2020, even in 2021 we frankly we
            don’t see a lot of change. The supply appears to be relatively
            stable. We have a good sense of what that looks like just due to
            the calf crop that gives us good visibility for at least a couple of
            years.”




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VII.   ADDITIONAL PLUS FACTORS ENCOURAGING THE REASONABLE
       INFERENCE OF DEFENDANTS’ CONSPIRACY

       196. The beef meatpacking industry bears all the characteristics of a highly

cartelized market: (1) producer concentration; (2) high barriers to entry; (3) commodity

product; (4) inelastic demand; (5) opportunities to collude; (6) reduction of imports;

(7) market share stability; and (8) production and capacity cuts in the face of increasing

demand for beef. These characteristics supported Operating Defendants’ collusion to

constrain the number of cattle entering the supply chain, throttle the volume of processed

beef sold, raise and fix the wholesale price of beef, and maximize Operating Defendants’

margins.

       A.     The beef market is highly concentrated

       197. Market concentration facilitates collusion. Conspiracies are easier to

organize and sustain when only a few firms control a large share of the market. Practical

matters, such as coordinating cartel meetings and exchanging information, are much

simpler with a small number of players.

       198. A high degree of Operating Defendants’ control simplifies coordination

because little outside competitive presence exists to undermine the cartel, and Operating

Defendants can more easily monitor each other’s actions related to supply and pricing.

       199. In a highly concentrated market, higher, long-term profits secured by the

cartel’s artificially elevated prices outweigh transitory gains in profits and market share

that producers might achieved by undercutting their cartel price.


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       200. The beef industry experienced significant consolidation leading up to and

during the Class Period. In 2001, Tyson Foods purchased IBP, Inc., then the nation’s largest

beef packer. In 2002, Cargill, Inc. purchased Taylor Packing Co. In 2007 and 2008, JBS

USA acquired Swift & Co. and Smithfield Beef Group, Inc., the third- and fifth-largest

U.S. beef packers.

       201. Through these purchases, Operating Defendants collectively controlled

about 81–85 percent of the cattle slaughter market throughout the Class Period, while the

next largest meatpacker had only a 2–3 percent market share. Operating Defendants’

control of the market enabled the conspiracy to launch in 2015 and prosper ever since.

       B.     The beef market has high barriers to entry

       202. Barriers to entry are obstacles that prevent new competitors from easily

entering a market. They restrict competition in a market and make it easier for incumbents

to collude.

       203. A collusive arrangement that raises product prices above competitive levels

would, under basic economic principles, attract new entrants seeking to benefit from the

profits to be reaped from supracompetitive pricing. But where significant barriers to entry

exist, new entrants are less likely to enter the market. Thus, barriers to entry help to

facilitate the formation and maintenance of a cartel.

       204. Barriers to entry kept would-be competitors out of the beef-packing industry.

The construction of a large packing plant requires an investment of at least $250 million.

It normally takes two years or longer to obtain the necessary permits and plan, design, and

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build the facility. And new entrants must also comply with numerous regulations, recruit

and train a large workforce, and develop and execute a successful marketing plan.

       205. These barriers have caused new entrants to file for bankruptcy shortly after

attempting to enter the market. These casualties include substantial enterprises such as

Northern Beef Packers, LP, and Sam Kane Beef Processing, LLC.47 Relative insulation

from the threat of new competitors has enabled Operating Defendants to maintain their

conspiracy.

       C.     Beef is a commodity product

       206. A commodity is a basic item or good used in commerce that is

interchangeable with other goods of the same type. Commodities are most often used as

inputs in the production of other goods or services.

       207. Beef is a commodity. For example, beef roasts from Tyson and Cargill are

virtually indistinguishable and have nearly identical nutritional content. The USDA

recognizes beef as a commodity and posts daily beef prices. Options and futures for the

cattle from which beef is produced are traded as commodities on the Chicago Mercantile

Exchange.




47
       Northern Beef Packers LP filed under Chapter 11 in July 2013 and ceased
operations before selling off its assets in December of that year. “Northern Beef Packers
sold to White Oak for $44.3 million,” The National Provisioner, Dec. 9, 2013. Sam Kane
Beef Processing filed under Chapter 11 in January 2019 and was acquired by STX Beef
Co. in February. “Kane Beef plant sale closes, new owner pledges to restart operations,”
Daily Adviser, Mar. 1, 2019.
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       208. Markets for commodity products are susceptible to collusion. Demand for a

commodity depends primarily, if not exclusively, on price as opposed to other attributes

such as product quality or customer service. As a result, cartel members can more easily

monitor compliance and detect defectors.

       209. Any observed price discrepancies for commodities are more likely to expose

cheating because they cannot as readily be attributed to other factors such as special product

features, quality, reliability and durability, or other terms of a transaction.

       D.     The demand for beef is inelastic

       210. Price elasticity describes the sensitivity of suppliers or consumers to changes

in the price of a good or service. Demand is inelastic if an increase in the price of a product

results in only a small decline, if any, in the quantity sold of that product.

       211. Under conditions of inelastic demand, customers have nowhere to turn for

alternative, cheaper products of similar quality, and they continue to purchase despite a

price increase.

       212. For a cartel to profit from raising prices above competitive levels, demand

must be relatively inelastic at competitive prices; otherwise, increased prices would result

in declining sales, revenues, and profits as customers purchase substitute products or

decline to buy altogether.

       213. Inelastic demand is a market characteristic that facilitates collusion, allowing

producers to raise their prices without triggering customer substitution and lost sales

revenue.

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       214. Beef demand is relatively insensitive to price changes. According to a recent

study of beef demand, “since beef has an inelastic demand, industry total revenue increases

when prices rise as there comparatively is a limited reduction in volume purchased.”48

       215. The same study concluded that the relative impact of pork and chicken prices

on beef demand is economically small. Operating Defendants’ supracompetitive prices to

its direct purchasers do not significantly reduce beef sales or lead purchasers to seek protein

from other meat sources.

       E.      Defendants took advantage of multiple opportunities to collude

       216. Operating Defendants are members of industry trade associations and forums

and regularly attend industry events, including the events listed below. These events

provide opportunities to exchange pricing, supply, and other competitively sensitive

information.

       217. For example, the National Cattlemen’s Beef Association (“NCBA”) holds an

annual convention, CattleCon, which includes a summer conference, legislative

conference, and regional meetings.49 The NCBA Product Council, which includes

Defendants’ representatives and representatives from other packers, meets quarterly for the

invitation-only Beef Executive Forum. For example, two of Defendants’ executives,

former CMS/Cargill Vice President of Cattle Procurement Bill Thoni and former Tyson


48
        Glynn Tonsor, Jason Lusk, Ted Schroeder, Assessing Beef Demand Determinants,
(Jan. 18, 2018) at 7-9, https://www.beefboard.org/wp-
content/uploads/2019/06/Assessing-Beef-Demand-Determinants_FullReport.pdf.
49      NCBA Allied Industry Membership, NAT’L CATTLEMEN’S BEEF ASS’N (2019),
https://convention.ncba.org/.
                                           82
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SVP of Beef Margin Management and VP of Boxed Beef Pricing Kevin Hueser, were both

officers, board members, or formally designated participants of the NCBA during the Class

Periods. Defendants also participate in meetings of the Beef Checkoff program run by the

Federation of State Beef Councils, held contemporaneously with the NCBA summer and

winter meetings.

      218. The U.S. Meat Export Federation (“USMEF”) is another example of a trade

association at which Defendants regularly met. The USMEF develops export opportunities

for U.S. protein producers and holds both spring and fall conferences and monthly

international trade shows.50 USMEF leadership includes current and former employees

and officers of Defendants. For example, former CMS/Cargill Vice President of

International Sales Pat Binger was an officer, board member, or formally designated

participant of the USMEF; former Tyson Foods SVP of International Sales Roel

Andriessen served as the Chair, Vice Chair, and on the Executive Committee of the

USMEF; former Tyson Foods SVP of International Sales and VP International Sales

Robert Shuey was a formal participant of the USMEF; National Beef International

President and former Vice President of International Sales Peter Michalski served on the

Export Committee of the USMEF; and former National Beef NBP International Sales

President Mark Domanski served on the Export Committee of the USMEF. Also, in




50      Events: Meetings, U.S. MEAT EXP. FED’N (2019),
http://www.usmef.org/events/bod-meetings/; Events: Trade Show Calendar, U.S. MEAT
EXP. FED’N (2019), http://www.usmef.org/events/trade-shows/.
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November 2017, Tyson’s Roel Andriessen and CMS’s Pat Binger both attended the

USMEF Strategic Planning Conference in Tucson, Arizona.51

      219. Defendants were among the founding members of the Global and U.S.

Roundtables for Sustainable Beef, and they remain members. Defendants participate in its

annual meetings each spring, and JBS and Cargill have leadership positions in some of the

working groups.

      220. Defendants also came together for multiple meetings, conferences,

conventions, and expositions sponsored by the North American Meat Institute (“NAMI”)

and its predecessor, the American Meat Institute. NAMI is a national trade association that

represents companies that process 95% of red meat.52 Executives and employees of

Defendants also participated and held leadership positions in the NAMI. For example,

CMS President of Business Operations & Supply Chain and former Cargill Beef President

John Keating was an officer, board member, or formally designated participant of the

NAMI; former Tyson Foods CEO, Group President of Fresh Meats & International, and

COO Noel White served on the Executive Committee of the NAMI; former Tyson Foods

CEO and President Thomas Hayes also served on the Executive Committee of the NAMI;

National Beef President and CEO Timothy M. Klein served on the Executive Committee


51      USMEF Members Examine Challenges ahead, Elect New Officer Team, U.S.
MEAT EXP. FED’N (Nov. 3, 2017), https://www.usmef.org/news-statistics/member-news-
archive/usmef-members-examine-challenges-ahead-elect-new-officer-team/.
52      See About NAMI, NAT’L AM. MEAT ASS’N (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/204/pid/204; Events, NAT’L
AMERICAN MEAT ASS’N (2019),
https://www.meatinstitute.org/index.php?ht=d/sp/i/10422/pid/10422.
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of the NAMI; and JBS USA CEO Andre Nogueira served on the Board of Directors of the

NAMI.

       221. The NAMI and the Food Industry Association host an annual Meat

Conference, which various executives and employees of Defendants attend every year.53

In 2017, National Beef’s Timothy Klein, Tyson Vice President of Boxed Beef Pricing Don

Kieffer, JBS USA‘s Andre Nogueira, and CMS Vice President of Sales John Jay, amongst

other Defendant executives, were listed as attendees of the Meat Conference.54 In 2018,

National Beef’s Timothy Klein, JBS USA’s Andre Nogueira, Cargill Vice President of

Retail Beef Business Lead Elizabeth Gutschenritter, and Tyson’s Don Kieffer attended the

Meat Conference.55 In 2019, JBS USA’s Andre Nogueira, Tyson’s Noel White, National

Beef’s Timothy Klein, and Cargill’s Elizabeth Gutschenritter were listed as attendees.56 In

2020, Tyson’s Noel White and National Beef’s Timothy Klein again signed up to attend

the Meat Conference along with various other Cargill and JBS executives and employees.57


53      Meat Conference, NORTH AM. MEAT INST. AND FOOD INDUS. ASS’N,
http://meatconference.com/ (last visited Dec. 9, 2020).
54      2017 Annual Meat Conference: Registered Attendees, FOOD INDUS. ASS’N (Dec.
9, 2020)
https://www.fmi.org/forms/meeting/MeetingRosterPublic/viewRoster?meetingId=43A35
D00000DFE&sortBy=name.
55      2018 Annual Meat Conference Attendee List as of 2.9.2018, MEAT CONFERENCE
(Feb. 9, 2018),
http://meatconference.com/sites/default/files/books/2018%20AMC%20Attendee%20List.
pdf.
56      Meat Conference 2019 Attendee List (as of 2/27), MEAT CONFERENCE (Feb. 27,
2019), http://meatconference.com/sites/default/files/books/2019-AMC-Attendee-List.pdf.
57      2020 Annual Meat Conference: Registered Attendees, FOOD INDUS. ASS’N (Dec.
9, 2020),

                                            85
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      222. Until April 2017, NAMI sponsored an annual Meat Industry Management

Conference, which offered topics such as economics and general business. That conference

was then replaced by an annual Meat Industry Summit. This summit has sponsored

“networking opportunities and social events” including a golf tournament, receptions, an

“Issues, Answers, Actions Breakfast,” the annual NAMI board meeting, and what one

publication described as “closed door committee meetings to discuss policies and

association business.” The 2017 summit included a presentation by John Nalivka of

Sterling Marketing entitled “Economic Outlook for the Red Meat Industry,” described as

an “analysis of supply and demand and price forecasts” to “cover all aspects of the supply

chain, and help your business prepare for the years ahead.”

      223. The beef industry’s Annual Meat Conference, described on the event’s

website as “a complete education and networking experience,” provides another

opportunity for Defendants to confer. Many of Defendants’ high-level executives have

been attending this conference for years. The list of registered attendees in 2012, for

example, included eight executives from JBS, Tyson Foods’s then-CEO Donnie Smith,

and twelve other Tyson executives.

      224. Defendants’ executives and employees also attended “AgCon,” a joint

conference from the Commodity Futures Trading Commission and the Center for Risk




https://www.fmi.org/forms/meeting/MeetingRosterPublic/viewRoster?meetingId=571D8
1000004FF&includeUnpaid=1&sortBy=title.
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Management Education and Research at Kansas State University, in 2018.58 CMS’ Bill

Thoni and Tyson’s Kevin Hueser were listed as attendees of the 2018 AgCon along with

other Packing Defendants’ executives and employees, including Tyson Fresh’s VP of

Sourcing & Risk Management Randall Chambers; Tyson Fresh’s VP of Cattle

Procurement John Gerber; National Beef Vice President of Cattle Procurement Chad

Barker; National Beef Vice President of Procurement and Risk Management Phil

Groetken; and JBS USA Head of Risk Management Marco Sampaio.59

      225. Tyson, JBS, and Cargill Defendant executives also had ample opportunities

to meet privately particularly at the beginning of the conspiracy as a result of JBS’s

acquisition of Tyson and Cargill’s Mexican and Brazilian chicken and U.S. pork

operations, respectively. JBS S.A.’s purchase of Tyson’s Brazilian and Mexican chicken

operations was announced on July 28, 2014 and closed on December 1, 2014 and June 29,

2015, respectively,60 while its purchase of Cargill’s U.S. pork operations was announced

on July 1, 2015 and closed on October 30, 2015. Cargill, Tyson, and JBS executives with

responsibilities relating to beef and cattle such as then-Tyson CEO and President Donnie




58      Inaugural AgCon brings business, government together to discuss ag futures
markets, KANSAS STATE UNIV. (Mar. 8, 2018), https://www.ksre.k-
state.edu/news/stories/2018/03/AgCon2018.html.
59      2018 AgCon Attendees, KANSAS STATE UNIV. (Mar. 28, 2018), https://www.k-
state.edu/riskmanagement/documents/Ag_Con_2018_Attendees_Mar30.pdf.
60      JBS Foods Int’l B.V., Registration Statement (Form F-1) at 112 (Dec. 5, 2016),
https://www.sec.gov/Archives/edgar/data/1691004/000119312516785274/d304020df1.ht
m.
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Smith,61 JBS USA CEO Andre Nogueira,62 and then-Cargill Senior Vice President Todd

Hall63 were all involved in the acquisition discussions. JBS S.A.’s CEO Wesley Batista

stated in July 2015 that its “courtship” with Cargill in relation to its U.S. pork operations

“started years ago,” with discussions intensifying at the beginning of 2015, coinciding with

the start of the Class Period.64

       226. These events afford Defendants’ top executives and other employees

frequent opportunities to discuss pricing, production, and other proprietary information in

an informal setting and monitor compliance with their conspiracy.

       F.     Defendants exacerbated their supply restraints by continuing to reduce
              their imports

       227. Defendants did not offset their slaughter reductions by importing more cattle

into the United States. Rather, imports continued decreasing in 2015 and throughout the

Class Period. Figure 15 captures this trend:




61      Tyson to sell Mexico, Brazil poultry businesses to JBS, REUTERS (July 29, 2014,
1:32 PM), https://www.reuters.com/article/us-tyson-foods-results/tyson-to-sell-mexico-
brazil-poultry-businesses-to-jbs-idUKKBN0FX0UR20140729.
62      Lawrence Aylward, Inside the JBS, Cargill deal, MEAT + POULTRY (July 2, 2015),
https://www.meatpoultry.com/articles/13164-inside-the-jbs-cargill-deal.
63      Press Release, Cargill, JBS USA Pork agrees to purchase Cargill Pork business
(July 1, 2015), https://www.cargill.com/news/releases/2015/NA31861255.jsp.
64      Luciana Magalhaes, With Cargill Purchase, Brazil’s JBS Poised to Become No. 2
Pork Producer in U.S., WALL STREET JOURNAL (July 2, 2015, 3:18 PM),
https://www.wsj.com/articles/with-cargill-purchase-brazils-jbs-poised-to-become-no-2-
pork-producer-in-u-s-1435864508.
                                             88
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                                        Figure 15.




       228. Furthermore, certain Defendants shuttered international plants, thereby

decreasing the supply of cattle available to be imported into the United States, which could

otherwise have offset Operating Defendants’ conspiratorial reductions.

       229. Operating Defendants’ reduced domestic slaughtering and reduced cattle

imports for slaughter combined to raise above competitive levels beef prices paid by

Plaintiffs and other class members.




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      G.       Defendants’ Market Share Stability is Indicative of a Conspiracy

      230. In a competitive market, market shares fluctuate as producers compete for

and gain business from each other. Stable market shares over time can suggest

anticompetitive behavior like that engaged in by Operating Defendants’.

      231. Although market-share stability in a commodity market does not itself prove

collusion, it strongly suggests operation of an effective cartel that has agreed not to

compete. A marked decline in market-share volatility over time may suggest a conspiracy

in a previously competitive market.

      232. Available data show that Operating Defendants’ market shares, measured by

wholesale beef sales, became more stable during the Class Period. The same is true for

Operating Defendants’ market shares as measured by slaughter capacity.

      233. Operating Defendants did not do the things true competitors would do in a

competitive market. They did not attempt to capture each other’s market share or lower

prices as their costs declined. Rather, they shared competitively sensitive confidential

information.

      234. As described in Section V.B., Operating Defendants reduced their output and

capacity to produce beef for sale to Plaintiffs and class members. In a competitive market,

the reduction in output by one producer typically presents an opportunity for competitors

to capture market share in the face of constant or increasing demand.

      235. But instead, Operating Defendants reduced their output to limit beef supply,

which increased beef prices. By acting together to advance their conspiracy, Operating

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Defendants sacrificed potential gains for a few via increased market share for larger gains

for all by increased prices and profit at the expense of Plaintiffs and class members. Figure

18 demonstrates Operating Defendants’ overwhelming dominance of the market for the

purchase of fed cattle.

                                    Figure 16.
     Operating Defendants’ Share of Annual U.S. Fed Cattle Slaughter Volumes




       H.     The Production Cuts Were Implemented Despite Surging Beef Demand

       236. Operating Defendants’ joint slaughter management was not a reaction to

changes in beef demand. Tyson Fresh’s Head of Cattle Procurement, John Gerber, admitted

at a November 2018 industry conference:

       “[The] [c]onsumer will pay more for beef, and have to pay more for beef
       because it is worth more. There is value out there in chicken and pork, but
       unless you have been living under a great big rock the last two years, you
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       know that beef demand is off the charts. We have a lot of supply coming at
       us, but we have been able to hold the price at a pretty good level, because of
       beef demand, it’s been really good, and I think it will stay good65

Yet, no Operating Defendant broke from their collective restraint and bought more cattle

in an attempt to capture this “off the charts” demand for beef.

       237. By February 2019, beef demand was “terrific” and, in ordinary times, would

encourage packers to compete to secure more cattle and run plants to meet customers’

demand.66

       238. This strong beef demand trend continued into the fall of 2019, where the

“voraciousness of beef demand [surprised] pretty much everyone in the business.”67

       239. As shown in Figure 17 below, beef demand rebounded from its low in 2013.

re. Beef demand not only remained strong during the Class Period, but actually steadily

increased from its prior lows in the immediate pre-collusion period, is also evident from

Figure 20 below.




65      Tyson Fresh Meats: What the Consumer Demands - John Gerber, VP, Cattle
Procurement, Tyson Foods; Kevin Hueser, VP, Beef Pricing, Tyson Foods, from the
2018 NIAA Antibiotic Symposium: New Science & Technology Tools for Antibiotic
Stewardship, November 13-15, 2018, Overland Park, KS, USA,
https://www.youtube.com/watch?v=qCip3WBcqzo.
66      Cassandra Fish, How About That, THE BEEF (Feb. 11, 2019),
https://www.thebeefread.com/2019/02/11/how-about-that-3/ (“Rather obviously, beef
demand is terrific. Even in February, notoriously a slow beef demand month. Packer
margins are record wide for February.”).
67      Cassandra Fish, Packers Press and Cash Softens, THE BEEF (August 9, 2019),
https://www.thebeefread.com/2019/08/09/packers-press-and-cash-softens/.
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          Figure 17. Monthly Beef Demand Indices, Jan. 1988 – Nov. 2020




VIII. THE BEEF INDUSTRY FACES GOVERNMENTAL INQUIRIES AND
      INVESTIGATIONS

      240. Price fixing, concerted output restriction, and other anticompetitive conduct,

especially in an industry as large, prominent, and vital to national well-being as food

production, eventually attract governmental scrutiny. The nation’s antitrust enforcers,

along with politicians and other government regulators, have an interest in ending such

practices—not in leveling false accusations.

      241. Over the past year, Defendants’ market power and profiteering, made even

more unattractive by the COVID-19 pandemic, has caught the attention of politicians and

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regulatory bodies. Investigations confirm the egregiousness of Defendants’ conduct and

suggest Defendants’ culpability for their illegal acts.

       242. In August 2019, the USDA opened an investigation into the beef industry

following a fire at Tyson’s Holcomb, Kansas plant. The USDA took notice after the

reduction in available supply simultaneously caused cattle prices to fall while elevating

beef prices.

       243. On March 19, 2020, U.S. Senators Mike Rounds of South Dakota, Kevin

Cramer and John Hoeven of North Dakota, and Steve Daines of Montana sent a letter to

the DOJ urging the department to launch an investigation into price-fixing in the cattle

market. The authors highlighted Defendants’ harm to upstream producers and downstream

consumers.

       244. On a conference call reported in the press, Senator Rounds stated the request

was for the DOJ “to definitively answer whether a packer oligarchy exists within the cattle

market and inherently creates an anti-competitive marketplace that unfairly disadvantages

the cattle producer and the consumer.” Senator Rounds further commented, “These

margins just don’t make any sense. The reality is there is an inverse correlation between

the producer’s price and the consumer’s price.”

       245. On April 8, 2020, Reuters reported that the USDA had extended its existing

investigation to include a pricing dynamic like what was observed after the Holcomb fire—

reduced prices paid to ranchers for cattle accompanied by a surge in retail beef prices—in



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the wake of announced production shortages associated with the nationwide COVID-19

outbreak.

       246. On April 17, 2020, state-level cattle production trade associations from 23

states signed a letter to Attorney General William Barr requesting the DOJ coordinate with

the USDA and launch its own investigation into “fraudulent business practices within the

meatpacking industry.” Signatories included the Minnesota State Cattlemen’s Association.

       247. The letter described the two extraordinary pricing episodes, identified by the

USDA, following the Holcomb fire and during the COVID-19 outbreak. The state trade

associations not only reported their own plight but also observed that: “The nature of

previous and current concern in both situations is extreme market degradation to the

producer segment quickly followed by sharp increases and unseasonable profitability to

the packing segment through boxed beef prices.”

       248. With respect to the most recent manipulations, the letter explained that: “We

are now seeing that same type of price action [observed after the Holcomb fire] repeated—

only in a more extreme manner and during a time of crisis that includes logistical stressors

on the nation’s food production and distribution system.” Indeed, in the last analysis,

Defendants’ conduct portends more than mere profiteering. If left unchecked, it will remain

a direct and gathering threat to the country’s food security during the current crisis.

       249. On May 5, 2020, 11 state attorneys general representing agricultural

heartland states, including the Minnesota attorney general, signed a joint letter to Attorney

General Barr urging the DOJ to open a coordinated federal antitrust investigation into

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“anticompetitive practices by the meat packers in the cattle industry.” This letter reiterated

the two-way value extraction made possible by Defendants’ market power: “Cattle

ranchers . . . often struggle to survive. Consumers, moreover, do not realize the benefits

from a competitive market.”

       250. On June 4, 2020, Bloomberg reported that the DOJ had served civil

investigative demands on Tyson Foods, JBS S.A., Cargill, Inc., and National Beef in

connection with an investigation into antitrust violations consistent with the earlier requests

by the producer trade associations and state attorneys general.

IX.    ANTITRUST INJURY

       251. The cattle market is an oligopsony consisting of the Operating Defendants,

which purchase most of the cattle for slaughter and produce most of the beef sold in the

wholesale market. When Operating Defendants colluded to restrict supply, the market

effectively became a monopsony that left Plaintiffs with no choice but to accept whatever

price Operating Defendants offered.

       252. In a competitive market, the volume of cattle purchased by beef producers

(such as Defendants) would equal the volume where supply matches the demand/marginal

revenue product curve, and the price for that cattle would be the additional revenue that the

producers would receive for cattle.

       253. When Operating Defendants collaborated to restrict supply, they exercised

their monopsony power to compel Plaintiffs to accept the price Operating Defendants

offered, thus driving down the market price. In this manner, Operating Defendants’

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monopsony power enabled them to maximize their profit by purchasing fewer cattle at a

lower price.

       254. Further, because imported beef was not offsetting the shortages that

Operating Defendants created, the restricted supply of cattle caused a restricted supply of

beef in the downstream market to direct purchasers like Plaintiffs.

       255. From the standpoint of direct purchasers of commodity beef, such as

Plaintiffs, Operating Defendants function as an oligopoly in control of most of the industry

supply. When Operating Defendants colluded to restrict supply, the market for beef became

a monopoly in which direct purchasers were forced to buy at prices dictated by Operating

Defendants who acted in concert.

       256. Because no other source was offsetting the shortages, Operating Defendants

created the restricted supply of fed cattle, which in turn restricted the supply of beef in the

downstream market to direct purchasers. Operating Defendants exacerbated this restriction

through their concerted manipulation of slaughter capacity and processing volume.

       257. Because Operating Defendants had and have accompanying downstream

market power, they were able to maximize their profits by colluding to produce volumes

based on their marginal revenue curve instead of the market demand curve, which

increased wholesale prices that Plaintiffs and class members paid.

       258. Because Operating Defendants did not fear competition from other

meatpackers, Operating Defendants’ collusion had the dual effect of (a) artificially



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decreasing the price that Operating Defendants paid for cattle; and (b) artificially

increasing the price they charged for their beef products.

       259. Operating Defendants’ monopsony power and anticompetitive conduct had

the following effects, among others:

                    Price competition in the beef market was restrained or eliminated;

                    Prices for beef sold by Operating Defendants, their divisions,

                     subsidiaries, and affiliates, and co-conspirators, and, in turn, other

                     beef producers, were raised, maintained, and fixed at artificially

                     high, noncompetitive levels throughout the United States;

                    Direct purchasers of beef were deprived of free and open

                     competition; and

                    Direct purchasers paid artificially inflated prices.

       260. The purpose of Operating Defendants’ and their co-conspirators’ conduct

was to raise, fix, or maintain the price of beef above a competitive level. As a direct and

foreseeable result, Plaintiffs and class members paid supra-competitive prices for beef

during the Class Period.

       261. Defendants’ violations of the Sherman Act caused Plaintiffs and class

members to suffer injury to their businesses or property.

       262. This harm is an antitrust injury of the type that the antitrust laws were

designed to punish and prevent.



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X.       DEFENDANTS FRAUDULENTLY CONCEALED THEIR CONSPIRACY

         263. To invoke fraudulent concealment, Plaintiffs must allege facts showing:

(a) Defendants’ concealment of Plaintiffs’ cause of action, (b) failure by Plaintiffs to

discover the existence of their cause of action, and (c) due diligence by Plaintiffs in

attempting to discover the claim. The statute of limitations is then tolled with respect to

Plaintiffs’ and class members’ claims arising from Defendants’ illegal conduct.

         A.    Defendants’ concealment of Plaintiffs’ cause of action

         264. Defendants took affirmative actions to fraudulently conceal their antitrust

violation.

         265. Throughout the Class Period, Defendants effectively, affirmatively, and

fraudulently concealed the conspiracy from Plaintiffs and class members.

         266. Defendants used various means and methods to fraudulently conceal their

conspiracy, including but not limited to secret meetings, surreptitious communications

between Defendants by telephone or in person meetings to prevent the existence of written

records, limiting any explicit reference to competitor pricing or supply-restraint

communications on documents, and communicating competitively sensitive data to each

other.

         267. The facts alleged in Section V.B of this complaint describe Defendants’

secret behaviors intended to advance their conspiracy. These sections allege the who, what,

when, where, and how of Defendants’ conspiracy—based on behaviors known only to



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Defendants to be illegal at the time they performed them—that plausibly suggest

Defendants engaged in a fraudulent-concealment campaign.

       268. JBS and Tyson often falsely attributed their historically high profits to their

ability to accurately foresee the volume of cattle that would enter the beef supply chain in

the upcoming years, yet their high profits had nothing to do with foresight and instead were

the result of collusion as described in Section VI.B. of this complaint.

       269. Accordingly, Defendants concealed their illegal behavior from Plaintiffs and

class members by the following means:

                    communicating privately by telephone about their purchases and

                     slaughter volumes so they would not create written evidence of

                     sharing this information, as well as relying on nonpublic forms of

                     communication;

                    offering false or pretextual rationales for the low fed cattle prices;

                    providing pretextual justifications for their plant closures, slaughter

                     reductions, and withdrawal from the cash cattle trade;

                    explicitly and implicitly representing that the fed cattle bids and

                     contract terms offered to Plaintiffs and class members were the

                     product of honest competition and not a conspiracy;

                    misrepresenting that Defendants complied with applicable laws and

                     regulations, including antitrust laws; and



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                    misrepresenting the nature of Defendants’ agreements (and

                     purported adherence to competitive safeguards) to government

                     officials and the public.

       270. During the Class Period, Defendants also lied about their compliance with

antitrust laws whose compliance lies at the heart of Plaintiffs’ antitrust case:

                    Tyson’s Code of Conduct touts that “[w]e compete in the market
                     with integrity and comply with competition laws [and w]e comply
                     with the letter and spirit of competition laws (also referred to as
                     “antitrust” laws) wherever we do business.”

                    JBS’s 2014 Annual Report asserts that the company has clear
                     policies “[t]o ensure ethical conduct and integrity in the
                     management of its business,” including a Manual of Ethical
                     Conduct “that addresses issues related to violations, conflicts of
                     interest, third-party contracts, employment practices, receiving
                     gifts, decision making, anti-corruption practices, and other
                     sensitive topics.”

                    Cargill stressed in its 2015 Corporate Responsibility report that
                     “[w]e obey the law. Obeying the law is the foundation on which
                     our reputation and Guiding Principles are built We conduct our
                     business with integrity We compete vigorously, but do so fairly
                     and ethically. We ... comply with the laws and regulations that
                     support fair competition and integrity in the marketplace.” Cargill
                     reaffirmed this commitment in subsequent Corporate
                     Responsibility reports.

                    National Beef’s former majority shareholder, Jefferies Financial
                     Group acknowledged in its 2014 Annual Report that National
                     Beef was “subject to extensive government regulation,” including
                     the USDA’s.

       271. As it concerns Cargill, Inc.’s, JBS S.A.’s, and Tyson Foods’s false or

pretextual statements or issued false or pretextual data, Cargill, Inc. did so for the benefit

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of CMS, JBS S.A. did so for the benefit of JBS USA, Swift, and Packerland, and Tyson

Foods did so for the benefit of Tyson Fresh because, had these parent Defendants not

continually cloaked Operating Defendants’ conspiracy, the entire conspiracy would have

been unable to operate. Indeed, these parent Defendants told and perpetuated many of the

lies that fueled Operating Defendants’ conspiracy and allowed it to operate.

       272. In addition to Defendants having affirmatively concealed their conspiracy,

Defendants’ conspiracy was inherently self-concealing because it depended on secrecy for

its successful operation. Had the public learned Defendants were conspiring to limit supply

and fix prices, their conspiracy could not have survived.

       273. Defendants also lied about their plant closures, slaughter reductions, and

withdrawal from the cash cattle trade as follows:

              1.     The Cargill Defendants

       274. As discussed above, the Cargill Defendants shared a unity of corporate

interest and operated as part of a single enterprise to advance their conspiracy.

       275. To facilitate Defendants’ conspiracy, Cargill, Inc. made public statements

offering pretextual explanations to cloak Defendants’ unlawful activity. For example,

Cargill, Inc. used its 2017 Annual Report to explain that “[r]enewed consumer demand for

beef [produced] favorable market conditions in North America.”

       276. The following year, Cargill, Inc. proclaimed that its Animal and Nutrition &

Protein segment’s “strong performance” in 2018 was “fueled by rising domestic and export



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demand for North American beef” rather than through its price-fixing scheme, which

reference Cargill, Inc. understandably avoided.

       277. Cargill, Inc. made these false public statements to obscure its role and

participation in the conspiracy. Instead of disclosing that its “strong performance” stemmed

from the illegal behavior and profits, Cargill, Inc. concocted fabricated business

justifications such as “favorable market conditions” and “rising domestic and export

demand.”

              2.     The JBS Defendants

       278. As discussed above, the JBS Defendants shared a unity of corporate interest

and operated as part of a single enterprise to advance the conspiracy.

       279. To facilitate the conspiracy, JBS USA made public statements to conceal

Defendants’ unlawful activity. For example, in November 2015, JBS USA CEO Andre

Nogueira declared that “[c]attle price will go down” in the United States because “we are

going to see more cattle available.”

       280. Similarly, in March 2016, JBS S.A.’s CEO Wesley Mendonca Batista, stated

that JBS would see “better margin[s]” due to an “increase in the herd in the U.S.”

       281. JBS executives made similar statements throughout 2016 and 2017 and into

2018, regularly claiming that JBS’s strong financial performance in the United States was

a result of “more cattle available in the U.S.,” “cattle price[s being] back to the normal

level,” and “strong demand for beef.”



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       282. Instead of disclosing that the “improvement in EBITDA margin” was the

result of illegal profits from the conspiracy, JBS offered false business justifications such

as “more cattle available in the U.S.” and cattle prices returning “back to the normal level.”

JBS made all these false public statements to disguise its role and participation in the

conspiracy.

              3.     National Beef

       283. To facilitate the conspiracy, National Beef, through its majority shareholders

Jefferies Financial Group Inc. and later Marfrig Global Foods S.A., used public statements

to conceal Defendants’ unlawful activity.

       284. For example, in October 2015, Jefferies stated that the anticipated expansion

of the cowherd “bodes well for [meatpacking industry] margins as it will lead to an increase

in the number of fed cattle available for slaughter.”

       285. In October 2016, Jefferies explained that the “rebuilding of the domestic US

cattle herd ha[d] dramatically affected the market for fed cattle” when justifying how,

“[f]rom June 27, 2015 to June 25, 2016, the average market price per pound of fed cattle

ha[d] fallen from $1.48 to $1.16.”

       286. Jefferies offered similar justifications throughout 2017 and 2018, such as

“National Beef generated record results for [the last 12 months] on the back of a more

balanced supply of cattle and robust end market demand,” “an increased supply of cattle in

2017 has driven higher margins and greater capacity utilization versus 2016,” “pre-tax

income grew by $78.3 million, as increased cattle availability and strong demand for beef

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continued to support strong margins,” and “because the peak in supply of fed cattle ready

for slaughter lags the peak size of the beef cowherd, throughput should continue to increase

for at least the next several years, supporting continued above-average packer margins.”

       287. These statements were made during Jefferies Financial Group Investor Day

presentations in 2015, 2016, and 2017, at which National Beef’s CEO and President, Tim

Klein, was scheduled to speak on topics related to National Beef’s performance.

       288. Marfrig similarly offered false justifications for the low prices caused by the

conspiracy after Marfrig acquired a controlling stake in National Beef.

       289. For example, Marfrig reported in November 2018 that, “[i]n the United

States, the cattle availability combined with stronger domestic and international demand

has been supporting better margins.”

       290. In 2018, during a third-quarter company earnings call, Marfrig executives

reiterated the preceding paragraph’s point by claiming that “the U.S. beef industry has

delivered record results” because of “an ample supply of cattle” and “strong demand in

both the domestic and international markets.” Although Marfrig declared that it had

attained record results and better margins while reducing cattle slaughter volumes, it

misrepresented that these results were due to “fewer weeks in the third quarter 2018

compared to the third quarter 2017.”

       291. National Beef CEO, Timothy M. Klein—referred to by Marfrig CEO,

Eduardo de Oliveira Miron, as “CEO of [Marfrig’s] North American Operations”—

participated in the 2018 call.

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       292. Marfrig announced in the fourth quarter of 2018 that it attained a “[s]olid

result from North America Operation, sustained by strong demand for beef protein and the

higher cattle availability.”

       293. Jefferies and Marfrig made these pretextual public statements on behalf of

National Beef—which, as alleged above, was the original source of the pretextual public

statements—to obscure their role and participation in the conspiracy. Instead of disclosing

that their record results and better margins stemmed from the illegal prices implemented

by the conspiracy, Jefferies and Marfrig claimed these results were due to ample supply of

cattle, higher cattle availability, and strong demand.

              4.      The Tyson Defendants

       294. As discussed above, the Tyson Defendants shared a unity of corporate

interest and operated as part of a single enterprise to advance the conspiracy.

       295. To facilitate the conspiracy, Tyson Foods made public statements to conceal

Defendants’ unlawful activity. For example, Tyson Foods used its SEC filings from 2015

to 2018 to declare that it had “limited or no control” over the pricing and production of

cattle because prices were “determined by constantly changing market forces of supply and

demand.”

       296. As for the factors that influence the cost of cattle, Tyson identified “weather

patterns throughout the world, outbreaks of disease, the global level of supply inventories

and demand for grains and other feed ingredients, as well as agricultural and energy

policies of domestic and foreign governments.”

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       297. Tyson further stated that it “ceased operations at our Denison, Iowa plant” to

“better align our overall production capacity with current cattle supplies.” Tyson claimed

that “[t]he beef segment earnings improved . . . due to more favorable market conditions

associated with an increase in cattle supply which resulted in lower fed cattle costs.”

       298. Rather than truthfully disclosing that the conspiracy improved its earnings,

Tyson Foods issued false business justifications such as lower fed cattle costs and favorable

market conditions. Tyson Foods made these misrepresentations to cover up its role and

participation in the conspiracy.

       299. There was no truth to Defendants’ foregoing statements. Rather, Defendants

made them to mislead Plaintiffs into believing they were acting legally as keeping Plaintiffs

and class members in the dark would allow Defendants’ price-fixing conspiracy to operate

and for Defendants to profit from it.

       B.     Plaintiffs were unable to discover the existence of Operating
              Defendants’ conspiracy

       300. Plaintiffs only recently learned about Witness 1, as early as April 25, 2019,

upon the filing of cattle ranchers’ complaint. Witness 1 offers direct evidence that the beef

industry has been colluding to fix prices.

       301. Plaintiffs also only recently learned about the USDA and DOJ investigations

into price fixing in the beef industry, as early as March 12, 2020.




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       302. Before Witness 1’s account and the revelation of the government’s

investigations, no facts existed that could have or should have reasonably suggested or

disclosed to Plaintiffs or class members the possibility of price fixing in the beef industry.

       303. The discovery of Witness 1 and the government’s investigations put

Plaintiffs and class members on inquiry notice of Operating Defendants’ price fixing in the

beef industry.

       304. Operating Defendants’ conspiracy, by its very nature, was self-concealing.

Beef is not exempt from antitrust regulation, and thus, before these recent events Plaintiffs

reasonably considered it to be a competitive industry. Accordingly, a reasonable person

under the circumstances would not have been alerted to begin to investigate the legitimacy

of Operating Defendants’ beef prices before these recent events.

       C.        Plaintiffs exercised due diligence in attempting to discover their
                 claim68

       305. Plaintiffs and class members could not have learned of Operating

Defendants’ anticompetitive conduct until recently through disclosures by Witness 1 and

the existence of governmental investigations. Market conditions that Operating

Defendants—and, accordingly, Plaintiffs—ascribed to legal behavior did not put Plaintiffs

on inquiry notice.

       306. Operating Defendants’ concealment was successful—that is, because of their

concealment, Plaintiffs were unable to discover the existence of their antitrust claim.


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        Since due diligence is an affirmative defense, Plaintiffs need not necessarily plead
it here but do.
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       307. Because of Operating Defendants’ fraudulent concealment, Plaintiffs and

class members had insufficient information concerning Operating Defendants’ misconduct

on which to base a complaint and could not have discovered, until their recent exercise of

due diligence, Operating Defendants’ conspiracy.

       308. Because of Defendants’ affirmatively made public statements giving

pretextual reasons for their record profits, Plaintiffs’ attention was not raised sufficiently

to require them to take affirmative steps to uncover Operating Defendants’ conspiracy.

Relatedly, DOJ’s investigation into the seafood and broilers industries did not—and could

not have been expected to—attract Plaintiffs’ attention because these investigations did not

involve the beef industry and because though the broilers and pork industries utilize Agri

Stats the beef industry does not.

       309. Because of Defendants’ misrepresentations, the lack of the involvement of

Agri Stats in the beef industry, and Defendants’ success and precision in cloaking their

illegal behavior, Plaintiffs lacked reasonable awareness of suspicious circumstances or

storm warnings sufficient to trigger the duty to investigate.

       310. A reasonable person would not have discovered the conspiracy through any

of Defendants’ statements. As such, the most reasonable time for Plaintiffs’ duty to inquire

to arise was following Witness 1’s revelations and indication of the government’s

investigations.

       311. An April 2018 General Accounting Office (“GAO”) report did not reveal

Defendants’ anticompetitive conduct. The GAO had limited investigative authority and

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“did not obtain and review internal packer documents.” This report did not consider

whether Defendants engaged in anticompetitive behavior of the type alleged here. Plaintiffs

and class members have neither obtained nor reviewed internal packer documents.

XI.    DEFENDANTS ENGAGED IN CONTINUING ANTITRUST VIOLATIONS

      312. A continuing violation restarts the statute of limitations period each time

Defendants commit an overt act.

      A.     Defendants Renewed their Conspiracy with New and Independent
             Acts

      313. During the Class Period, Operating Defendants continued to make sales to

Plaintiffs and class members of beef whose prices were fixed as the result of Operating

Defendants’ continually renewed and adjusted price-fixing agreement. Operating

Defendants needed to continually renew and adjust their price-fixing agreement to account

for ever-fluctuating economic and market conditions.

      314. Defendants’ meetings and misrepresentations were overt acts that began a

new statute of limitations because these events advanced the objectives of Defendants’

conspiracy. Indeed, every statement involved different facts and suggestions but sprang

from the same seed—Defendants’ conspiracy.

      315. Defendants’ overt acts, which were new acts beyond the initial price fixing

that were necessary to perpetuate Defendants’ agreement, continued throughout the Class

Period. Each sale of beef by an Operating Defendant at a supracompetitive price was a new




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overt act that was part of Defendants’ antitrust violation that injured Plaintiffs and class

members and started the statutory period running again.

       316. Defendants’ overt acts were new and independent acts that perpetuated their

agreement and kept it current with market conditions; they were not merely reaffirmations

of Defendants’ previous acts. By constantly renewing and refining their agreement to

reflect market conditions, Defendants inflicted new and accumulating injury on Plaintiffs

and class members.

       317. This reality is most easily recognized when considering the Holcomb fire and

onset of COVID-19.




       B.     Defendants Inflicted New and Accumulating Injury on Plaintiffs

       318. Each purchase by Plaintiffs and class members through the Class Period of

Operating Defendants’ beef, the price of which resulted from Operating Defendants’

continually renewed and adjusted price-fixing agreement, necessarily caused new and

accumulating injury to Plaintiffs and class members.

       319. As the concept of a continuing violation applies to a price-fixing conspiracy

that brings about a series of unlawfully high-priced sales over a period of years, each sale

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to Plaintiffs starts the statutory period running again regardless of the Plaintiffs’ knowledge

of the alleged illegality at much earlier times. This means that each illegally priced sale of

beef to Plaintiffs and class members constituted a new cause of action for purposes of the

statute of limitations.

       320. To adequately allege that a continuing violation has occurred, Plaintiffs must

plead: (a) a price-fixing conspiracy; (b) that brings about a series of unlawfully high-priced

sales during the Class Period; and (c) sales to them during the Class Period.

       321. This complaint alleges, via direct and indirect evidence, the existence of

Operating Defendants’ price-fixing conspiracy.

       322. Operating Defendants’ conspiracy continued into the non-time-barred Class

Period—that is, four years before Plaintiff Central Grocers filed its complaint.

       323. As alleged throughout this complaint, Operating Defendants’ price fixing

began in at least 2015 (slightly more than four years ago), and many of Plaintiffs’ factual

assertions alleged regard Operating Defendants’ 2015 (or earlier) misconduct. But

Plaintiffs also allege that Operating Defendants’ misconduct continued throughout the

Class Period, alleging facts that would not have occurred had the conspiracy disbanded.

       324. Many of Operating Defendants’ illegal acts occurred in at least 2015 and

continued throughout the Class Period. See supra Section V.B. and Figures 1–3, 7-13

(describing Defendants’ overt illegal acts beginning in at least 2015 and extending into the

four-year period before former-named plaintiff Pacific Agri-Products filed its first

complaint, followed by the filing Plaintiff Central Grocers’ complaint).

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       325. Plaintiffs allege that Operating Defendants constantly coordinated and

communicated with each other beginning in at least 2015 and throughout the Class Period.

The fact that they maintained such communications makes plausible the allegation that

their conspiracy continued from at least 2015 through present. See supra Sections V.B. and

VI.B. (describing coordination and communications among Operating Defendants at least

as early as 2015 and continuing throughout the Class Period). In this manner, Operating

Defendants’ conspiracy continued when their sales to Plaintiffs during the four years

preceding the filing of former-named plaintiff Pacific Agri-Products filed its first

complaint, followed by the filing Plaintiff Central Grocers’ complaint.

       326. Each of the beef industry’s plus factors were present at least as early as 2015:

high market concentration, commodity product, inelastic demand, high barriers to entry,

and trade association meetings that occurred each year and provided the Operating

Defendants the continual opportunity to conspire.

       327. Finally, this complaint alleges that Operating Defendants sold beef directly

to Plaintiffs during the Class Period.

                       XII.    CLASS ACTION ALLEGATIONS

       328. Plaintiffs invoke Federal Rules of Civil Procedure 23(a), (b)(2), and (b)(3)

on behalf of the following class:

              All persons and entities who purchased beef directly from any of the
              Defendants, or their respective subsidiaries or affiliates, for use or
              delivery in the United States from January 1, 2015 to present.



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              Excluded from this Class are Defendants; their officers, directors or
              employees; any entity in which a Defendant has a controlling interest;
              and any affiliate, legal representative, heir, or assign of a Defendant.
              Also excluded from this Class are any federal, state, or local
              governmental entities; any judicial officer presiding over this action; the
              members of the judicial officer’s immediate family and staff; and any
              juror assigned to this action.

       329. Class membership. During the Class Period, Plaintiffs purchased beef

directly from one or more Defendants.

       330. Ascertainability. The class is readily identifiable and one for which

adequate electronic records exist.

       331. Numerosity. Due to the nature of the trade and commerce involved,

Plaintiffs believe thousands of class members exist. Defendants know the exact number of

class members and their identities.

       332. Typicality. Plaintiffs’ claims are typical of class members’ claims because

they purchased beef directly from one or more Defendants during the Class Period and

Defendants injured them in same way as they injured class members—to wit, Plaintiffs

paid more for beef than they would have paid absent Defendants’ conspiracy. Plaintiffs’

claims arise from the same common course of conduct, give rise to the same claims of

injury, and seek the same relief as other class members.

       333. Predominance of common legal and factual questions. Common legal and

factual questions predominate over individual questions. These predominating common

legal and factual questions, which generate common answers, include the following:



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             A.     Whether Defendants and their co-conspirators engaged in an

                    agreement, combination, or conspiracy to fix, raise, elevate,

                    maintain, or stabilize prices of beef sold in interstate commerce in

                    the United States;

             B.     The identity of the conspiracy’s participants;

             C.     The conspiracy’s duration;

             D.     The acts performed by Defendants and their co-conspirators in

                    furtherance of their conspiracy;

             E.     Whether Defendants’ conspiracy violated Section 1 of the

                    Sherman Act, 15 U.S.C. §1;

             F.     The effect of the conspiracy on the price of beef sold in the

                    United States during the Class Period;

             G.     Whether Plaintiffs and class members suffered antitrust injury as

                    a result of Defendants’ conspiracy;

             H.     The appropriate measure of damages for injury suffered by

                    Plaintiffs and class members; and

             I.     Whether Plaintiffs and class members are entitled to injunctive

                    relief and the nature and extent of injunctive relief.

      334. Adequacy. Plaintiffs will fairly and adequately protect class members’

interests because Plaintiffs’ interests are aligned with, and not antagonistic to, class



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members’ interests. Plaintiffs have retained counsel competent and experienced in

prosecuting class actions and antitrust litigation.

       335. Superiority. A class action is superior to other available methods for the fair

and efficient adjudication of this controversy for the following reasons: (a) individual

joinder of all class members is impractical; (b) prosecution as a class action will eliminate

the possibility of duplicative litigation; (c) prosecution of separate actions by individual

class members would create the risk of inconsistent or varying decisions and adjudications,

creating uncertain and potentially incompatible standards for adjudicating the claims and

defenses asserted in this action; (d) the relatively small amount of damages suffered by

individual class members, when compared to the expense and burden of individual

prosecution of their individual claims, preclude feasible and practical individual actions to

seek redress for the violations alleged; and (e) individual litigation would greatly magnify

the delay and expense to all parties and to the court system. For these reasons, a class action

will reduce case management difficulties and provide the benefits of unitary adjudication,

economy of scale, and comprehensive supervision by a single court.

       336. Defendants have also acted on grounds generally applicable to the class,

making final injunctive relief appropriate for the class as a whole.

          XIII. VIOLATIONS OF SECTION 1 OF THE SHERMAN ACT,
                               15 U.S.C. § 1

       337. Plaintiffs incorporate and reallege all preceding paragraphs.




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       338. Beginning at least as early as 2015 and continuing through the present, the

exact dates presently unknown to Plaintiffs, Defendants and their co-conspirators entered

and engaged in a continuing agreement, understanding, and conspiracy in unreasonable

restraint of trade to artificially fix, raise, and stabilize the wholesale price for beef in the

United States, thus creating anticompetitive effects in violation of Section 1 of the Sherman

Act.

       339. Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

       340. Defendants and their co-conspirators conspired to conceive and further their

objects of the conspiracy, including but not limited to the following acts, practices, and

course of conduct:

                     Fixing, raising, and stabilizing the wholesale price of beef ; and

                     Allocating among themselves and collusively reducing the

                      production of beef.

       341. The combination and conspiracy alleged had these effects, among others:

                     Price competition in the sale of beef has been restrained,

                      suppressed, and eliminated in the United States;

                     Prices for beef sold by Defendants, their divisions, subsidiaries,

                      and affiliates, and all their co-conspirators have been fixed, raised,



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                      stabilized, and maintained at artificially high, non-competitive

                      levels throughout the United States; and

                     Plaintiffs and class members who directly purchased beef from

                      Defendants, their divisions, subsidiaries, and affiliates, and co-

                      conspirators, were deprived of the benefits of free and open

                      competition in the purchase of beef.

       342. Defendants’ anticompetitive acts had a direct, substantial, and foreseeable

effect on interstate commerce by raising and fixing beef prices throughout the United States

because Defendants sell their beef in every state.

       343. The conspiratorial acts and combinations have caused unreasonable

restraints in the beef market.

       344. Plaintiffs and class members have been injured and will continue to be

injured in their businesses and property by paying more for beef purchased directly from

Defendants and their co-conspirators than they would have paid and will pay absent the

conspiracy.

       345. The alleged contract, combination, understanding, agreement, or conspiracy

is a per se violation of the federal antitrust laws.

       346. Plaintiffs and class members are entitled to an injunction against Defendants

to prevent and restrain the violations alleged.




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                           XIV. REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs, on their behalf and on behalf of class members,

request that the Court grant the following relief:

             A.     Determine that this action may be maintained as a class action

                    under Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil

                    Procedure, appoint Plaintiffs as class representatives and their counsel

                    of record as class counsel, and direct that notice of this action as

                    provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure be

                    given to the Class, once certified;

             B.     Adjudge that the conspiracy and the acts done by Defendants and

                    their co-conspirators in furtherance thereof violate Section 1 of the

                    Sherman Act, 15 U.S.C. § 1;

             C.     Enter judgment for Plaintiffs and class members against

                    Defendants for three times the damages sustained by Plaintiffs and

                    class members as a result of Defendants’ violations of Section 1 of

                    the Sherman Act and costs of this action, including reasonable

                    attorneys’ fees, as permitted Sections 4 and 16 of the Clayton Act,

                    15 U.S.C. §§ 15 and 26;

             D.     Award Plaintiffs and class members prejudgment and post-

                    judgment interest at the highest legal rate from commencement of

                    this proceeding, to the extent allowed by law;

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              E.    Permanently enjoin Defendants and their co-conspirators, affiliates,

                    successors, transferees, assignees, officers, directors, partners,

                    agents and employees, and all other persons acting or claiming to

                    act on their behalf or in concert with them, from continuing,

                    maintaining or renewing the conduct, conspiracy, or combination

                    and from entering into any other contract, conspiracy, or

                    combination having a similar purpose or effect, and from adopting

                    or following any practice, plan, program, or device having a similar

                    purpose or effect caused by any further violation of the antitrust

                    laws; and

              F.    Such other and further relief as the Court may deem just and proper

                    under the circumstances.

                          XV.    JURY TRIAL DEMANDED

       Plaintiffs demand a trial by jury according to Rule 38(b) of the Federal Rules of

Civil Procedure of all issues so triable.

Dated: December 28, 2020                    Respectfully submitted,

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